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14   GRIDIRON PRODUCTIONS, LLC
15
                         UNITED STATES DISTRICT COURT
16
           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
17

18
     GRIDIRON PRODUCTIONS LLC, a                 Case No.
19   Georgia Limited Liability Company,
20                           Plaintiff,          ORIGINAL COMPLAINT FOR:
21        vs.                                         1) DECEIT/FRAUD;
                                                      2) SUPPRESSION OF FACTS;
22   BRET MERRITT SAXON, an individual;               3) VIOLATION OF PENAL
     JEFF BOWLER aka JEFFREY BOWLER,                     CODE § 496;
23   an individual; AMY SAXON, an individual;         4) BREACH OF CONTRACT;
     NINA PODOLSKA, an individual;                    5) CONVERSION (5); AND
24   RICHARD DAVIS, an individual;                    6) RESTITUTION, MONEY
     RICHARD SALVATORE, an individual;                   LENT OR RECEIVED.
25   WONDERFILM LLC aka WONDERFILM
     aka THE WONDERFILM MEDIA                    [TRIAL BY JURY DEMANDED]
26   CORPORATION, a California Limited
     Liability Company, WONDER CAPITAL
27   LLC, a Delaware Limited Liability
     Company; WF HARD MATTER, LLC, a
28   Louisiana Limited Liability Company; WF
     GROUP, LLC, a Delaware Limited Liability

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     Company; LUCKY OWL FILMS INC., a
1    California Corporation; EPIC JOURNEY
     PRODUCTIONS, LLC aka EPIC JOURNEY
2    FILMS, LLC, a California Limited Liability
     Company; PICKLE WAGON HOLDINGS
3    INC., a California Corporation; MARCH ON
     PRODUCTIONS INC., a California
4    Corporation; and BOS ENTERTAINMENT
     INC. dba THE EXCHANGE, a California
5    Corporation,
6                              Defendants.
7

8          COMES NOW, PLAINTIFF GRIDIRON PRODUCTIONS, LLC (“Plaintiff”
9    or “Gridiron”) and hereby alleges and avers as follows:
10                               NATURE OF THE ACTION
11         1.    This action arises from certain misrepresentations made by Defendants,
12   seasoned con-artists “in the movie business,” who unbeknownst to Plaintiff at the
13   time, through their concerted acts, aiding and abetting, conspiracy, deceit, fraud,
14   conversion and other misconduct, stole investments from Plaintiff after fraudulently
15   inducing Plaintiff to invest and contribute $5,050,000, of an estimated total budget of
16   $7,300,000, to make the film “Hard Matter” (the “Film” or “Hard Matter”) with Mel
17   Gibson as a lead, as well as used Plaintiff’s investment to secure an estimated
18   $2,000,000 in state tax rebates for the making of the Film which, upon information
19   and belief, Defendants, and each of them, secreted, diverted, misused, and converted
20   for their own purposes.
21                              JURISDICTION AND VENUE
22         2.    This Court has diversity jurisdiction over the parties pursuant to 28 U.S.C.
23   § 1332(a), as, upon information and belief, no Defendant is a citizen or domiciliary
24   of the same state as Plaintiff and the amount in controversy exceeds $75,000.00,
25   exclusive of interest and costs.
26         3.    Venue is proper in this judicial district and this Court has personal
27   jurisdiction over all the Defendants by virtue of their transacting, doing, and soliciting
28   business in this District, and because a substantial part of the relevant events occurred
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1    in this District.
2                                          PARTIES
3          4.     Plaintiff Gridiron Production LLC is a Georgia limited liability company
4    and did and does business as an independent film producer.             Latavius Powell
5    (“Powell”) is the sole officer, member, and/or manager of Gridiron. Gridiron is the
6    successor in interest and assignee of all rights, interests and entitlements of Powell,
7    Powell’s partner Justin Price (“Price”), and Price Productions, LLC (Powell, Price,
8    and Price Productions, LLC collectively referred to herein as “Price Productions”)
9    with respect to the Hard Matter Short Form Finance Agreement dated September 23,
10   2021, and all claims arising from or related to the agreement. Attached hereto as
11   Exhibit 1 is a true and correct copy of the Hard Matter Short Form Finance
12   Agreement dated September 23, 2021.
13         5.     Defendant Bret Merrick Saxon (“Bret Saxon”) is an adult that resides and
14   is a citizen of, did and does business in, and is, upon information and belief, domiciled
15   in the State of California. On May 26, 2021, Bret Saxon was disgracefully removed
16   from the California bar and stripped of his license to practice law after a California
17   Bar trial court found him guilty of stealing. The final ruling on his discipline in In re
18   discipline of BRET MERRICK SAXON was entered by the California Supreme
19   Court en banc, at Docket No. S270015, with State Bar Court Case No. 17-O-01259-
20   YDR, entitled, In re matter of Accusation of Defendant BRET MERRICK SAXON
21   on September 22, 2021 (“Moral Turpitude Disbarment”).              Attached hereto as
22   Exhibits 2 and 3 are true and correct copies of (2) the California Supreme Court
23   Decision In Re BRET MERRICK SAXON on discipline en banc, Docket No.
24   S270015, and (3) the trial court decision in State Bar Court Case No. 17-O-01259-
25   YDR, In re matter of accusation against BRET MERRICK SAXON. Wherein the
26   Moral Turpitude Disbarment found that Bret Saxon “misappropriation of $1.5 million
27   of entrusted funds from an investor in a movie Respondent was going to produce. The
28   court f[ou]nd[], by clear and convincing evidence, that Respondent is culpable for the
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1    intentional and dishonest misappropriation of the investor’s funds, an act of moral
2    turpitude.” See Exhibit 3, pg. 1 thereto. As part of those decisions, Bret Saxon was
3    liable for over $1.5 million plus interest since 2009 in restitution.
4         6.     Defendant Jeffrey Bowler (“Bowler”) is an adult that resides and is a
5    citizen of, did and does business in, and is, upon information and belief, domiciled in
6    the State of California. Upon information and belief, Bowler participated, aided and
7    abetted, conspired with and engaged in misconduct resulting in the theft of money
8    found in the Moral Turpitude Disbarment.
9          7.    Bret Saxon and Bowler are partners, and are the principals in, owners,
10   controllers, or otherwise direct (directly or indirectly) Defendants Wonderfilm LLC,
11   aka The Wonderfilm Media Corporation (“Wonderfilm”), a California limited
12   liability company; Wonder Capital LLC (“WC”), a Delaware limited liability
13   company; WF Hard Matter, LLC (“WFHM”), a Louisiana limited liability company;
14   WF Group, LLC (“WF Group”), a Delaware limited liability company; Luck Owl
15   Films, Inc. (“Lucky Owl”), a California corporation; Epic Journey Productions, LLC,
16   aka Epic Journey Films, LLC (“Epic Journey”), a California limited liability
17   company; Pickle Wagon Holdings, Inc. (“Pickle Wagon”), a California corporation;
18   March on Productions, Inc. (“March on Productions”), a California corporation; and
19   BOS Entertainment, Inc. dba The Exchange (“The Exchange”), a California
20   corporation. Upon information and belief, Bowler has and is the head of acquisitions
21   for The Exchange and, upon information belief and unbeknownst to Price Productions
22   and Plaintiff, closed secret business arrangements or dealings with that entity,
23   including with respect to the Film.
24        8.     Upon information and belief, Defendant Amy Saxon (“Amy Saxon”) is
25   the wife of Bret Saxon and is an adult that resides and is a citizen of, did and does
26   business in, and is, upon information and belief, domiciled in the State of California.
27   Amy Saxon is a principal in, owns, controls, or otherwise directs (directly or
28   indirectly) Defendants WF and WF Group for, on behalf of, and at the direction and
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1    control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM, and/or WF
2    Group to deceive, defraud, and embezzle, steal and/or take money, investments,
3    benefits, and other consideration from investors seeking legitimate services of a
4    production company.
5         9.     Defendant Nina Podolska (“Podolska”), upon information and belief, is
6    the girlfriend of Bowler, and is an adult that resides and is a citizen of, did and does
7    business in, and is, upon information and belief, domiciled in the State of California.
8    Podolska is a principal in, owns, controls, or otherwise directs (directly or indirectly)
9    Defendant Lucky Owl, for, on behalf of, and at the direction and control of
10   Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM, and/or WF Group to
11   deceive, defraud, and embezzle, steal and/or take money, investments, benefits, and
12   other consideration from investors seeking legitimate services of a production
13   company.
14        10.    Defendant Richard Davis (“Davis”), upon information and belief, is a
15   cohort of Bowler, and is a resident of the State of Illinois. Davis is a principal in,
16   owns, controls, or otherwise directs (directly or indirectly) Defendant Epic Journey,
17   and works for, on behalf of, and at the direction and control of Defendants Bret Saxon,
18   Bowler, Wonderfilm, WC, WFHM, and/or WF Group to deceive, defraud, and
19   embezzle, steal and/or take money, investments, benefits, and other consideration
20   from investors seeking legitimate services of a production company.
21        11.    Defendant Richard Salvatore (“Salvatore”), upon information and belief,
22   is a cohort of Bret Saxon and Bowler, and is a resident of the State of California.
23   Salvatore is a principal in, owns, controls, or otherwise directs (directly or indirectly)
24   Defendant March on Productions, Inc., and works for, on behalf of, and at the
25   direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM,
26   and/or WF Group to deceive, defraud, and embezzle, steal and/or take money,
27   investments, benefits, and other consideration from investors seeking legitimate
28   services of a production company.
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1          12. Defendant Wonderfilm LLC is a California limited liability company that
2    did and does business in California, and is, upon information and belief, a resident,
3    citizen of, and with all its members, upon information and belief, domiciled in
4    California with its nerve center in that state. Wonderfilm was formed on December
5    6, 2021, upon information and belief, is a shell entity owned, controlled, or otherwise
6    directed and instructed by and operates for, on behalf of, and at the direction and
7    control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM, and/or WF
8    Group to deceive, defraud, and embezzle, steal and/or take money, investments,
9    benefits, and other consideration from investors seeking legitimate services of a
10   production company. Upon further information and belief, Wonderfilm is entirely
11   owned and/or controlled by, with a unity of interest in Bret Saxon and Bowler, and
12   operates as their main puppet entity.
13         13. Defendant Wonder Capital LLC is a Delaware limited liability company
14   that did and does business in California. Upon information and belief, none of its
15   members are citizens of the State of Georgia. WC was formed in October 12, 2017,
16   and is, upon information and belief, a suspended shell entity owned, controlled, or
17   otherwise directed and instructed by and operates, for, on behalf of, and at the
18   direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM,
19   and/or WF Group to deceive, defraud, and embezzle, steal and/or take money,
20   investments, benefits, and other consideration from investors seeking legitimate
21   services of a production company.
22         14. Defendant WF Hard Matter LLC is a Louisiana limited liability company.
23   Upon information and belief, all its members are residents, citizens of, and domiciled
24   in the State of California. WFHM was formed on October 14, 2021 and is, upon
25   information and belief, a suspended shell entity owned, controlled, or otherwise
26   directed and instructed by and operates, for, on behalf of, and at the direction and
27   control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM, and/or WF
28   Group to deceive, defraud, and embezzle, steal and/or take money, investments,
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1    benefits, and other consideration from investors seeking legitimate services of a
2    production company.
3          15. Defendant WF Group LLC is a Louisiana limited liability company.
4    Upon information and belief, all of its members are residents, citizens of, and
5    domiciled in the State of California. WF Group was formed on October 14, 2021 and
6    is, upon information and belief, a suspended shell entity owned, controlled, or
7    otherwise directed and instructed by and operates, for, on behalf of, and at the
8    direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC, WFHM,
9    and/or WF Group to deceive, defraud, and embezzle, steal and/or take money,
10   investments, benefits, and other consideration from investors seeking legitimate
11   services of a production company.
12         16. Defendant Lucky Owl Films Inc. is a California corporation that did and
13   does business in California, and is, upon information and belief, a resident, citizen of,
14   and domiciled in California with its nerve center in that state. Lucky Owl is, upon
15   information and belief, a shell entity owned, controlled, or otherwise directed and
16   instructed by and operates at the behest, of Defendant Podolska for, on behalf of, and
17   at the direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC,
18   WFHM, and/or WF Group to deceive, defraud, and embezzle, steal and/or take
19   money, investments, benefits, and other consideration from investors seeking
20   legitimate services of a production company.
21         17. Defendant Epic Journey Productions, LLC is a California limited liability
22   company, suspended in 2017, that did and does business in California, and is, upon
23   information and belief, a resident, citizen of, and domiciled in California with its
24   nerve center in that state. Epic Journey, upon information and belief, operates as a
25   movie production company and aided and abetted, or otherwise was directed and
26   instructed by, for, on behalf of, and at the direction and control of Defendants Bret
27   Saxon, Bowler, Wonderfilm, WC, WFHM, and/or WF Group to deceive, defraud, and
28   embezzle, steal and/or take money, investments, benefits, and other consideration
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1    from investors seeking legitimate services of a production company.
2          18. Defendant Pickle Wagon Holdings Inc. is a California corporation that
3    did and does business in California, and is, upon information and belief, a resident,
4    citizen of, and domiciled in California with its nerve center in that state. Pickle
5    Wagon, upon information and belief, operates as a movie production company, and
6    aided and abetted, or otherwise was directed and instructed by, for, on behalf of, and
7    at the direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC,
8    WFHM, and/or WF Group to deceive, defraud, and embezzle, steal and/or take
9    money, investments, benefits, and other consideration from investors seeking
10   legitimate services of a production company.
11         19. Defendant March on Productions Inc. is a California corporation that did
12   and does business in California, and is, upon information and belief, a resident, citizen
13   of, and domiciled in California with its nerve center in that state.          March on
14   Productions, upon information and belief, operates as a movie production company,
15   and aided and abetted, or otherwise was directed and instructed by, for, on behalf of,
16   and at the direction and control of Defendants Bret Saxon, Bowler, Wonderfilm, WC,
17   WFHM, and/or WF Group to deceive, defraud, and embezzle, steal and/or take
18   money, investments, benefits, and other consideration from investors seeking
19   legitimate services of a production company.
20         20. Defendant Bos Entertainment Inc., dba The Exchange, is a California
21   corporation that did and does business in California, and is, upon information and
22   belief, a resident, citizen of, and domiciled in California with its nerve center in that
23   state. The Exchange, upon information and belief, operates as a movie production
24   company, and aided and abetted, or otherwise was directed and instructed by, for, on
25   behalf of, and at the direction and control of Defendants Bret Saxon, Bowler,
26   Wonderfilm, WC, WFHM, and/or WF Group to deceive, defraud, and embezzle, steal
27   and/or take money, investments, benefits, and other consideration from investors
28   seeking legitimate services of a production company.
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1            21. Plaintiff is informed and believes, and thereon alleges, that each
2    Defendant, was and is the agent, employee, servant, subsidiary, partner, member, co-
3    conspirator, aider and abettor, associate or representative of each other Defendant,
4    and all of the things alleged to have been done by the Defendants, and each of them,
5    were done in the course and scope of the agency, employment, service, or
6    representative relationship and with the knowledge and consent of their respective
7    principals, employers, masters, parent corporations, partners, members, associates, or
8    representatives.
9                                         GENERAL ALLEGATIONS
10                  Defendants Induce Price Productions Into Financing The Film
11           22. In or around early September 2021, the representative and predecessor of
12   Gridiron, Price Productions, entered into contract negotiations with Bret Saxon and
13   Bowler of Wonderfilm for the financing and production of the Film. During these
14   negotiations, Powell travelled to Los Angeles and met with Bret Saxon at the Saxon
15   family home, in pursuit of the Film and completion of the Film before knowing of the
16   fraud or any wrongdoing by the Defendants; and Powell communicated terms,
17   conditions, plans, and ideas, and other things about the Film through email and phone
18   or text messages directly with Bret Saxon and Bowler from the Los Angeles area.
19   IMDB1 describes “Hard Matter” as: “In a crime plagued future, a power-hungry
20   corporation has issued deadly watches to criminals, forcing them to eliminate each
21   other for freedom, and only one of their own can topple the entire system from
22   within.”
23           23. At all relevant times, upon information and belief, Defendants and each
24   of them, knew or should have known or became aware of the fact that on May 26,
25   2021, Bret Saxon was disgracefully removed from the California bar pursuant to the
26   Moral Turpitude Disbarment. However, Defendants concealed that information and
27            1
                       http://www.imdb.com is a film, tv, and media industry resource website. It is self-described as
28   “IMDb is the world's most popular and authoritative source for movie, TV and celebrity content. Find ratings and
     reviews for the newest movie and TV shows.”
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 1   did not disclose those facts to Price Productions or Plaintiff. Furthermore, despite
 2   Defendants quietly removing Bret Saxon’s name and information from public view
 3   on Wonderfilm’s website, Bret Saxon remained and continued to engage as a
 4   principal, owner, controller, or otherwise directed (directly or indirectly) the entity
 5   Defendants.
 6        24.    In the course of the negotiations over the financing and production of
 7   Hard Matter, and after execution of a written agreement, Bret Saxon and Bowler made
 8   certain untrue and false representations and promises to entice Price Productions and
 9   Plaintiff to invest $5,050,000 and transfer intellectual property rights for the Film
10   based on representations that superstar celebrity Mel Gibson would star in the Film.
11         25. For example, knowing that Price Productions would be lured to finance
12   Hard Matter if a big star was signed on for the Film, Bret Saxon and Bowler informed
13   Price Productions in early September 2021 that Mel Gibson “loved the script” and
14   that he was “onboard” for $3,000,000.
15         26. Based on Bret Saxon and Bowler’s representations, Price Productions
16   expressed a strong interest in having Mel Gibson in the lead starring role and
17   requested that Bret Saxon and Bowler provide them a written agreement for Price
18   Productions to finance the Film, subject to a provision that Price Productions could
19   later assign the agreement to a different entity (Gridiron). Bret Saxon informed
20   Powell that, as an attorney, he believed that a name change or assigning the agreement
21   to a different entity for the financing would not be a problem if needed in the future.
22        27.    However, unbeknownst to Price Productions and Plaintiff, Mel Gibson
23   was not available to star in Hard Matter because he already committed to another film
24   entitled “Hot Seat” set to start production on November 1, 2021 in New Mexico; and,
25   upon information and belief, Mel Gibson had either declined to star in Hard Matter
26   or Bret Saxon and Bowler had fabricated their purported discussions with Mel Gibson
27   to deceive Price Productions into entering into an agreement to produce Hard Matter
28   with Bret Saxon, Bowler, Wonderfilm, WC, WFHM, WF Group, and The Exchange
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 1   (the “Wonderfilm Defendants”) .
 2        28.    On September 21, 2021, Bret Saxon and Bowler continued to deceive
 3   Price Productions by representing that Mel Gibson would star in Hard Matter.
 4   Specifically, Bret Saxon and Bowler sent Price Productions The Exchange’s sales
 5   projection report reflecting that with Mel Gibson starring in Hard Matter, the Film
 6   was estimated to earn over $8,000,000 in world-wide revenue, including between
 7   $2,600,000 to $3,750,000 in the USA alone.
 8        29.    That same day, on September 21, 2021, the California Supreme Court
 9   denied review and any relief to Bret Saxon in connection with the Moral Turpitude
10   Disbarment, including the restitution order requiring Bret Saxon to pay approximately
11   $3,000,000 in restitution (including interest in principle sum stolen). Defendants
12   never disclosed the Moral Turpitude Disbarment or the California Supreme Court’s
13   denial of review of the disbarment to Price Productions or Plaintiff.
14        30.    On September 23, 2021, based on the representations from the
15   Wonderfilm Defendants that Mel Gibson would star in Hard Matter, Price for Price
16   Productions signed the Hard Matter Short Form Contingent Finance Agreement with
17   WC dated September 23, 2021 (the “First Contingent Agreement”), which in pertinent
18   part and as a material part of the agreement contained the following provisions, among
19   others,
20        2. Financier shall be entitled to have its certified

21        public accountant examine, audit and copy, at Financier’s

22        sole cost and expense, those parts of the Company’s books

23        and records which relate to the Picture during reasonable

24        business hours at such place where said books and records

25        are regularly maintained. Such examinations shall be made

26        upon not less than ten (10) days prior notice and shall

27        not be held more frequently than once each calendar year.

28        Additionally, Financier shall be provided with an ongoing
                                               10
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 1        cost report during the production of the Picture.

 2

 3        3. Parties agree that for a transaction of this nature

 4        more formal documents may be required to affect the

 5        ultimate purpose of this Agreement and do hereby agree to

 6        incorporate the terms and conditions of this letter

 7        Agreement into said documents, if any. Parties agree to

 8        negotiate in good faith terms and conditions not contained
 9        herein using the standards and customs of the theatrical
10        motion picture industry for such negotiations. Unless and
11        until such further documents are executed, if ever, this
12        Agreement shall bind and inure to the benefit of the
13        Parties, their successors and assigns.
14

15        4. Parties shall mutually agree to all key creative,

16        artistic and business decisions relating to the

17        development, production (final key cast and crew)

18        distribution and other exploitation of the Picture.

19   Exhibit 1, ¶¶ 2-4 (emphasis added).
20     Defendants Continue to Entice Price Productions to Invest More Money In Hard
21                    Matter Based on Mel Gibson Starring in the Film
22         31. After the First Contingent Agreement was executed, on or about
23   September 28, 2021, the Wonderfilm Defendants continued to deceive Price
24   Productions about Mel Gibson’s involvement in the Film by transmitting a budget for
25   Hard Matter reflecting the $3,000,000 talent charge for Mel Gibson, among other
26   expenses, that appeared consistent with producing Hard Matter with the superstar
27   actor. Other charges included: (1) special effects of $22,106; (2) wardrobe $69,698;
28   (3) art department of $78,552; (4) producer fees for Bret Saxon, Bowler, Wonderfilm,
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 1   WC, WFHM, and WF Group of $720,075; (5) sound of $35,417, and (6) “POST ALL
 2   IN DEAL” for $195,000.
 3         32. By October 9, 2021, Bret Saxon and Bowler continued to falsely entice
 4   and mispresent to Price Productions that Mel Gibson “[was] in” and that Mel Gibson’s
 5   people needed a $2,500,000 guarantee to “lock him in.” Bowler further taunted
 6   Powell, telling him not to get “cold feet” and that the delay in depositing the funds
 7   would risk losing Mel Gibson as the lead actor and delay the expected November 15,
 8   2021 start date for filming.
 9         33. Feeling justified in relying on Bowler’s statements and not aware that the
10   Wonderfilm Defendants and each of their statements or actions or inactions made
11   were false and/or intended to deceive, approximately three days later, on October 12,
12   2021, Powell transferred $2,050,000 to WC for the strict purpose of guaranteeing Mel
13   Gibson’s role in Hard Matter.
14         34. The next day, on or about October 13, 2021, Bowler texted Powell
15   indicating that he had submitted the offer to Mel Gibson that morning. Believing, as
16   indicated by the Wonderfilm Defendants, that Mel Gibson was committed to Hard
17   Matter as the lead actor, Price contacted Bowler to request a physical address for
18   delivering wardrobe for the main characters, including Mel Gibson, for the expected
19   November 15, 2021 start date of filming.
20         35. That same day, continuing to deceive and mislead Powell and Price,
21   Bowler told Bret Saxon, who then told Price Productions, that he had a “great” call
22   with Mel Gibson’s team earlier that morning. During this time, Bret Saxon and
23   Bowler repeatedly told Powell and Price that the deal with Mel Gibson was secured
24   and encouraged them to proceed as if that were true while the Wonderfilm Defendants
25   knew that Mel Gibson had no interest in the Film, and upon information and belief,
26   Mel Gibson’s “people” were not in contact with any of the Wonderfilm Defendants.
27         36.    By November 2, 2021, still believing that Mel Gibson was signed on to
28   star in Hard Matter, Price Productions submitted sample Hard Matter graphics with
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 1   Mel Gibson to the Wonderfilm Defendants. However, as Wonderfilm Defendants
 2   well knew and had never disclosed to Price Productions at that time, Mel Gibson
 3   never agreed to star in Hard Matter, and had already started production of the film
 4   “Hot Seat” on November 1, 2021 in New Mexico; and, upon information and belief,
 5   on November 15, 2021, Mel Gibson also confirmed that he would be directing the
 6   fifth “Lethal Weapon” film.
 7         37. By the second week of November 2021, after duping Price Productions
 8   to invest $5,050,000 in Hard Matter based on the representation that Mel Gibson
 9   would star in the Film, and mere days before filming was to start on November 15,
10   2021, Wonderfilm Defendants admitted to Price Productions that Mel Gibson had not
11   agreed to star in the Film. They further stated that production would not start until
12   the first quarter of 2022.
13                      Defendants Siphon Money Away from the Film
14         38. Knowing that Price Productions was at risk of pulling its investment out
15   of Hard Matter after learning that Mel Gibson would not be starring in the Film,
16   Defendants siphoned money out of the Film’s production to enrich themselves while
17   diminishing the value and quality of the Film. Among other things, the Wondefilm
18   Defendants adjusted the expense items in Hard Matter’s budget so that they would
19   keep the differences for themselves or to their benefit, by, and among other things,
20   hiring unapproved and unnecessary producers and distributing the $2,500,000
21   Plaintiff invested to secure Mel Gibson to themselves through certain false and
22   fraudulent “Loan Out Deal Memos” including the following:
23                a.    on or before November 10, 2021, WFHM and Pickle Wagon
24   entered into a “Loan Out Agreement” in the amount of $450,000 to loan out Bret
25   Saxon as an executive producer for Hard Matter;
26                b.    on or before November 10, 2021, WFHM and WC entered into a
27   “Loan Out Agreement” in the amount of $500,000 to loan out Bowler as an executive
28   producer for Hard Matter;
                                              13
                                         COMPLAINT
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 1                c.    on or before November 10, 2021, WFHM and Lucky Owl entered
 2   into a “Loan Out Agreement” in the amount of $450,000 to loan out Podolska as a
 3   producer for Hard Matter;
 4                d.    on or before November 10, 2021, WFHM and Epic Journey entered
 5   into a “Loan Out Agreement” in the amount of $450,000 to loan out Davis for Hard
 6   Matter;
 7                e.    on or before November 10, 2021, WFHM and March on
 8   Productions entered into a “Loan Out Agreement” in the amount of $200,000 to loan
 9   out Salvatore for Hard Matter; and
10                f.    on or before November 10, 2021, WFHM and WF Group, entered
11   into a “Loan Out Agreement” in the amount of $500,000 to loan out Powell as an
12   executive producer for Hard Matter, but which said sum was paid to and credited to
13   the Film and not to Powell.
14         39. While Defendants were looting the production funds, the Wonderfilm
15   Defendants further began offering new high-profile actors to Price Productions to
16   replace Mel Gibson in order to string Price Productions along. For example, on or
17   about November 21, 2021, Bret Saxon texted Powell that he was very close to
18   “closing” John Travolta to star in the Film but he had passed and was now talking to
19   Nicholas Cage. In December 2021, the Wonderfilm Defendants sent another text to
20   Powell stating that they were 80% certain that Gary Oldman would be on board.
21         40. Between October 9, 2021 to January 2022, at no time did any of the
22   Defendants account for the $2,500,000 that Price Productions had previously
23   transferred to WC for the Film, nor did any of the Defendants notify or obtain from
24   Price Productions any approval to alter or to effect any changes to the talent, budget,
25   or any other material aspect of the First Contingent Agreement for the Film’s
26   production, including the previously provided sales projections for the Film generated
27   by The Exchange.
28         41. On October 13, 2021, WC, by Bowler and The Exchange, entered into a
                                         14
                                          COMPLAINT
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 1   binding Sales Term Sheet with respect to Hard Matter, which provided for further
 2   inflated compensation and favorable conditions and terms to The Exchange that, at
 3   no time, were approved or authorized by Price Productions, including an unheard of
 4   20 year term with a five year option and exclusive rights for any future sequel, priority
 5   in payment of residuals over Price Productions and Plaintiff (hereinafter, “Sales Term
 6   Sheet.”).
 7         42. However, the Sales Term Sheet expired by its own terms and conditions
 8   on November 5, 2021 without renewal or modification and had express condition
 9   precedent that provided for only Mel Gibson to play the leading starring role in the
10   Film. Attached hereto as Exhibit 4 is a true and correct copy of the expired Sales
11   Term Sheet of October 13, 2021.
12         43. Upon information and belief, the Wonderfilm Defendants had tacit and
13   secret agreements, encouraged and worked together to deceive and defraud Price
14   Productions and Plaintiff by continuing to portray that the Sales Term Sheet was
15   executory in respect to the Film at all times, despite the failure of the condition
16   precedent requiring Mel Gibson in the lead starring role and the express expiration of
17   that agreement on November 5, 2021. Exhibit 4, pgs. 2 and 3.
18         44. On January 9, 2022, despite not having obtained an executed assignment
19   or rights thereto, Bowler executed an “Assignment” of all of WC’s rights, title, and
20   interest in the Film to WFHM.
21         45. By January 2022, when the second production start date arrived, the
22   Wonderfilm Defendants told Price Productions that they were closing a deal with
23   Harvey Keitel, Peter Storemare and Frank Grillo to star in the Film.
24         46. At that point, the balance of the $5.05M to finance Hard Matter called for
25   in the First Contingent Agreement was not paid back to Price Productions, and Powell
26   began to question things and ask Defendants to provide updated budgets and
27   forecasting of sales for the Film in respect to the “switch” to Harvey Keitel and Frank
28   Brillo as lead actors in the Film, as was its right under the First Contingent Agreement.
                                                  15
                                           COMPLAINT
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 1         47. Bowler continued to deceive Price Productions, telling Powell that the
 2   switch to Harvey Keitel was a close equivalent to Mel Gibson and orally stated, at
 3   that time, that Harvey Keitel was only being paid $1,750,000, Tyrese Gibson would
 4   be paid $1,000,000, Ray Stevenson would be paid $350,000, and Frank Grillo would
 5   be paid $250,000.
 6         48. On or about January 24, 2022, Bret Saxon and Bowler transmitted another
 7   sales forecast for the Film to continue to deceive Price Productions, reflecting that
 8   Harvey Keitel and Frank Grillo’s involvement in the Film had an estimated initial
 9   revenue of over $9,000,000 worldwide, including between $2,150,000 to $3,500,000
10   in the USA alone.
11         49. On February 5 and 6, 2022, without Price Productions’ knowledge, WC,
12   by and through Bowler, each respectively signed into a “Script Option/Purchase
13   Agreement” dated January 8, 2022 regarding an original screen play entitled “Hard
14   Matter” written by Price.
15         50. On February 7, 2022, without Price Productions’ knowledge, WFHM
16   applied for a copyright for the “Hard Matter” as claimant thereof, and upon
17   information and belief, that application was granted to that claimant.
18         51. Unbeknownst to Price Productions and Plaintiff, by, on or about, February
19   11, 2022, Defendants Brett Saxon and Bowler, for Defendants, and each of them, had
20   created but conceal the new budget for the Film, and did not obtain prior approval of
21   or consulting with Price Productions and/or Plaintiff at any time.
22     Filming Starts and Defendants’ Secretly Modify the First Contingent Agreement
23         52. Production of Hard Matter finally began on March 25, 2022. Defendants
24   agreed that post-production would take place in April 2022, the Film would be sold
25   by July 1, 2022, and there would be an initial producer’s cut sent to Powell by June
26   2, 2022.
27         53. On or around March 28, 2022, Price Productions assigned all its rights
28   and claims arising from and related to the First Contingent Agreement to Gridiron.
                                               16
                                          COMPLAINT
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 1         54. That day, the Wonderfilm Defendants sent a “Revised Contingent
 2   Agreement” to Powell, which they falsely claimed only changed the name on the First
 3   Contingent Agreement for the financer from Powell and Price Productions to
 4   Gridiron, as was requested by Price Productions. Attached hereto as Exhibit 5 is a
 5   true and correct copy of the Revised Contingent Agreement of March 28, 2022.
 6         55. However, the Wonderfilm Defendants conspired to deceive Price
 7   Productions and Gridiron by falsely and without authority making unauthorized
 8   changes to the Revised Contingent Agreement without prior authority, approval, or
 9   other consideration. The Wonderfilm Defendants surreptitiously and without notice
10   changed ¶ 4 of the First Contingent Agreement so that Price Productions and Gridiron
11   were striped of “all creative, artistic and business decisions relating to the
12   development, production, distribution and other exploitation of the Film.” Exhibit 5,
13   ¶ 4 thereto. In other words, the Wonderfilm Defendants modified the First Contingent
14   Agreement, without notice to Price Productions or Gridiron, to purportedly give
15   themselves complete control over the production and sale of Hard Matter.
16                Defendants Delay Post-Production Work on the Film and
17                         Misrepresent the Costs to Finish the Film
18         56. By April, Gridiron had heard nothing of the status of the Film, and asked
19   Bret Saxon and Bowler whether the Film would still be sold by July 1, 2022. They
20   reassured Gridiron that it would.
21         57. When June 2, 2022 arrived and Bret Saxon had not provided a first
22   producer’s cut of the Film, Bret Saxon and Bowler explained that the original timeline
23   was aggressive and that edits would take an additional four to six weeks, which
24   Powell accepted as true at the time.
25         58. By July 15, 2022, Defendants had still not provided any updates about the
26   completion of the Film and Powell wrote to express his discontent that there appeared
27   to be no visual post-production work done on Hard Matter.
28         59. Bret Saxon responded with an email on Friday, July 15, 2022, at 2:42
                                          17
                                            COMPLAINT
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 1   pm from the email address bret@thewonderfilm.com, writing:
 2        Sound done 8/15

 3        VFX done 9/1

 4        Conform 9/8

 5        Color 9/22

 6        At this point we can screen film

 7        Once we sell and get notes from domestic distributor

 8        2 weeks to make edits/QC
 9        1 week to prep delivery
10        If you want to create a sizzle to trim the timeline, I
11        think you need to wait until after VFX is done, but you
12        could do it before Conform and Color
13        bret
14         60. Yet, by August 15 and September 1, 2022, sound and visual effects were
15   not done. Gridiron later learned that neither were completed because the vendors
16   stopped work due to outstanding invoices.
17         61. Unbeknownst to Gridiron, by September 1, 2022, WFHM had signed a
18   Collection Account Management Agreement (“CAMA”) in connection with the Film,
19   providing for a different distribution of proceeds than previously agreed to in the First
20   Contingency Agreement or the Revised Contingency Agreement, including without
21   limit, wrongfully and without approval or consent subordinating Gridiron’s right to
22   receive proceeds for the Film and recapture the initial investment.
23         62. After September 1, 2022, Powell learned from the VFX vendor that the
24   total post-production budget for the Film provide to that vendor was $85,000 and that
25   a heavy visual effects film alone should be $85,000, thus Defendants, and each of
26   them, falsely and untruthfully mispresented the budget for the Film by, and in part,
27   portraying the budget for all post-production work to be $195,000 while in truth,
28   Defendants, and each of them, actually allotted only $85,000 for post-production
                                           18
                                           COMPLAINT
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 1   work, and expected to keep the rest for themselves, or aided and abetted, conspired,
 2   encouraged, and/or was a link in the chain in the wrongful conduct and fraud
 3   perpetrated by Defendants.
 4          63. At all times relevant, Defendants, and each of them, knew, should have
 5   known, but planned, conspired to, disregarded or just didn’t care after secretly taking
 6   so much money out of the Film on November 10, 2021, that their failing and refusing
 7   to timely attend to and sufficiently fund post-production of the Film as agreed in the
 8   original budget would undermine the quality and salability of the Film and dissuade
 9   or undervalue any potential future profitable exploitation and distribution of the Film,
10   especially after Mel Gibson was “switched” by surprise to Harvey Keitel for the lead
11   starring role.
12                             Defendants Fail to Finish the Film
13          64. Around September 1, 2022, Bowler, for Defendants, and each of them,
14   again unilaterally changed the VFX completion deadline for the Film, this time, to
15   October 1, 2022, and the VFX vendor started working on the Film by that time. By
16   that time, as well, Bowler told Powell that the Film can be ready for screening at the
17   American Film Festival (“AFM”) in November 1, 2022 and that sales would be
18   impacted if the Film was not ready, since AFM is a major industry forum for film
19   sales and transactions.
20          65. As Powell started to investigate the original budget and looked for
21   evidence of the expenses for the production and post-production vendors for the Film,
22   he discovered that several of the originally budgeted line-items were unilaterally
23   reduced in price and scope of work or replaced or left unpaid or incomplete, including
24   without limit, VFX, sound, conforming and color.
25          66. As well as, during production the original budget provided for assistant
26   directors, production assistants, wardrobe, makeup and complex stunts, for the Film,
27   among other things, that Defendants, and each of them, instead eliminated, reduced
28   in scope and price, or provided sub-standard or non-conforming alternatives without
                                              19
                                           COMPLAINT
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 1   prior consent or approval of Price Productions and Gridiron, and which was, upon
 2   information and belief, Defendants, and each of them, as part of their intent and/or
 3   plan all along in order to avoid detection and conceal or obfuscate their intent to take,
 4   syphon and/or capture money or benefits for themselves and each other and deceive
 5   and defraud Price Productions and Gridiron out of as much of the $5,050,000
 6   provided to make the Film, even though Defendants knew or should have known their
 7   acts to material depreciate the quality and salability of the Film irreversibly.
 8         67. By this time, in or about after October 1, 2022, Powell had repeatedly
 9   requested copies of expenses, bank statements, receipts, invoices, actor and producer
10   contracts, a locked budget, and all documents related to the Film including without
11   limit all information related to the tax rebate credit of approximately $2,000,000
12   applied for from the State of Louisiana which was also a material term of the
13   transaction to funds and produce the Film, which Defendants would not comply with
14   despite the express condition permitting an audit and document review rights in the
15   First Contingent Agreement and Revised Contingent Agreement.
16         68. In response to Powell’s requests, Defendants would direct him to a
17   “dropbox”, even though Defendants, and each of them, knew and/or should have
18   known, conspired to or intended to misdirect and frustrate Powell and his requests for
19   an audit and review of records, since the “dropbox” only had very limited set, if any,
20   of the documents requested or required for a proper audit or review.
21         69.    After production of the Film was completed, and despite its many
22   previous requests and demands, Gridiron was shocked and surprised to discover that
23   Defendants, and each of them, modified the original budget for the Film to benefit
24   themselves without authority or prior approval in violation of the First Contingent
25   Agreement and Revised Contingent Agreement, including without limit, adding or
26   making changings to the following producers or actors:
27                a.    Bret Saxon, WC, WF Group, and/or WFHM, was credited
28   $450,000;
                                                20
                                           COMPLAINT
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 1               b.      Bowler, WC, WF Group, and/or WFHM, was credited $450,000;
 2               c.      Wonderfilm’s expense line item was reduced to $50,000;
 3               d.      Podalska and/or Lucky Owl was credited $425,000 as “executive
 4   producer” but confusingly labeled as “production staff;”
 5               e.      Salvatore and/or March on Productions was credited $200,000,
 6   upon information and belief, as a “line producer” but confusingly labeled as
 7   “production staff;”
 8               f.      Harvey Keitel was paid $500,000 instead of $1,750,000 as Bowler
 9   previously represented;
10               g.      Frank Grillo was paid $100,000 instead of $250,000 as Bowler
11   previously represented;
12               h.      Tyrese Gibson was paid $500,000 instead of $1,000,000 as Bowler
13   previously represented;
14               i.      Ray Stephenson was credited $350,000, but, upon information and
15   belief did not show up to the set and was replaced with Brett Cullen who was only
16   paid $50,000; and
17               j.      Davis was credited $0.00 despite the producer agreement of
18   November 10, 2021 providing for Epic Journey or he to receive $450,000.
19         70. Upon information and belief, the differences between the budgeted
20   expenses and the actual expenses were pocketed by Defendants.
21         71. By mid-October 2022, Defendants told Powell that VFX were completed
22   and everything was sent to The Exchange for preparation for screening at AFM.
23         72. On October 19, 2022, Bowler, for Defendants, and each of them,
24   continued to deceive and intended to defraud Gridiron, and wrote Powell confirming
25   that The Exchange’s sales team would be cutting a promotional trailer of the Film for
26   AFM to show buyers for the sale of the Film.
27         73. Powell attempted to phone Bowler the day before AFM started, but
28   Bowler did not answer. Anxious to learn about the circumstances, meetings, interests,
                                             21
                                          COMPLAINT
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 1   offers, or sales of the Film, Powell tried calling Bowler the entire week and Bowler
 2   only answered once quickly to state that the Film was being shown at AFM and they
 3   will be wrapping up a sale soon.
 4         74. When Powell asked Bowler to show him the promotional material for the
 5   Film being used at AFM, Bowler refused.
 6         75. Shortly thereafter, Powell was informed that The Exchange did not even
 7   have the Film on its slate for AFM that year and did not show the Film at AFM nor
 8   did AFM create any promotional material as Defendants, and each of them, stated or
 9   portrayed.
10         76. Defendants, and each of them, then continued to make more promises that
11   they will work to sell the Film at the Berlin film festival in February 2023. But months
12   went by and Defendants still did nothing, which further caused deprecation of the
13   value of the Film in addition to the diversion, theft and conversion of investment
14   money earmarked for the Film by Defendants, and each of them, as alleged herein;
15   and Defendants, and each of them, did not provide updates, information, and
16   remained silent about the Film when asked to respond to inquiries from Mr. Powell.
17         77. Then, on March 20, 2023, Powell was informed that Defendants had not
18   paid Tunnel Post (a VFX company) the balance due of $53,000 and that Defendants
19   were unable to pay that amount but offered to repay that amount on the back end
20   through the CAMA, which would injure Plaintiff’s financial interest and position.
21         78. The next day, on March 21, 2023, Powell was informed that Defendants
22   had a union contract with Tunnel Post to cover all post-production for the Film
23   including sound but breached that agreement and were fined by the union $10,000 for
24   contracting the sound engineering in a non-union transaction and were also required
25   to pay the union contract with Tunnel Post with a then-balance due of $34,000.
26         79. Powell attempted to mitigate the losses by offering to pay $15,000 toward
27   the remaining balance but Defendants did not respond, and instead, upon information
28   and belief, Defendants asked The Exchange to pay and recoup that amount from the
                                            22
                                           COMPLAINT
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 1   CAMA, which would still injure Plaintiff’s financial interest and position.
 2         80. By May 17, 2023, Gridiron made “Demand To Comply, Turn Over
 3   Operational And Command Control Of Production And/Or Post-Productions And For
 4   Tender Of All Accounts And For An Accounting” to Defendants. (Hereinafter
 5   “Demand Letter”).
 6         81. After failing to respond to Powell’s inquiries and requests for so long, on
 7   June 6, 2023, Bret Saxon, for Defendants, and each of them, disregarded the Demand
 8   Letter and sent an email to Powell at 3:39 pm stating:
 9               Latavius - I hope all is well. There are two

10        pressing Matter on HM and I wanted to get your input:

11               — as the sales agency communicated to you, the

12        Lionsgate offer for domestic is at 500k. The Exchange

13        recommends we take it. It will be pulled shortly. Last

14        time you emailed them about it, you wanted to hold off.

15        It seems it’s decision time - we take it or lose the

16        offer.

17               — as discussed, the Exchange is ready to pay the

18        ~35k to Tunnel to finalize and deliver the film. You

19        emailed them to not pay it. The film is sitting

20        unfinished. Has your position changed? We need to do

21        something to get the film delivered or we won’t be able

22        to sell any territories.

23               Looking forward to your thoughts.

24               Thanks,

25               bret

26         82. At no time prior had any of the Defendants advised Powell or Gridiron of
27   a $500,000 offer from Loinsgate for domestic sales nor was that amount reasonable
28   since the Film had still not been completed, nor had any Defendants sought approval
                                              23
                                          COMPLAINT
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 1   or authority from Plaintiff or its predecessor or principals for any of the unilateral
 2   changes and depreciation of the Film during production or in post-production.
 3          83. As of the filing of this Complaint, the Film is and has been left incomplete
 4   by Defendants, an each of them, as a result of the misconduct, fraud, and intentional
 5   conduct or violations of law as alleged herein.
 6                               FIRST CAUSE OF ACTION
 7                          [Deceit/Fraud as against all Defendants]
 8          84. Plaintiff hereby reincorporates each and every allegation in this complaint
 9   as if fully set forth without duplication or repetition.
10          85. As alleged above, Defendants fraudulently induced, or conspired or aided
11   and abetted amongst themselves to fraudulently induce, Plaintiff to invest $5,050,000
12   into the production of Hard Matter. Defendants further then strung Plaintiff along in
13   order to loot the Film’s production funds to benefit themselves at the expense of
14   Plaintiff.
15          86. The misrepresentations alleged above were false and Defendants, and
16   each of them, knew they were false at the time they were made or Defendants, and
17   each of them, otherwise made the misrepresentations recklessly and without regard
18   to their truth.
19          87. Defendants, and each of them, intended for Plaintiff to rely on the
20   misrepresentations.
21          88. Plaintiff reasonably relied on Defendants’ misrepresentations.
22          89. Had Plaintiff known the misrepresentations of Defendants, and each of
23   them, were false, Plaintiff would have acted differently.
24          90. Plaintiff’s reliance on the misrepresentations of Defendants, and each of
25   them, was a proximate cause and substantial factor in causing Plaintiff’s harm.
26          91. As a direct and proximate cause of the misrepresentations of Defendants,
27   and each of them, Plaintiff has been harmed in an amount to be proven at trial, but
28   not less than $5,050,000.
                                                 24
                                            COMPLAINT
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 1                              SECOND CAUSE OF ACTION
 2                        [Suppression of Facts against all Defendants]
 3         92. Plaintiff hereby reincorporates each and every allegation in this complaint
 4   as if fully set forth without duplication or repetition.
 5         93. As alleged above, Defendants intentionally failed, or conspired or aided
 6   and abetted amongst themselves to fail to disclose, or otherwise disclosed only some
 7   facts to make the disclosure deceptive, to Plaintiff in order to induce Plaintiff to invest
 8   in $5,050,000 into the production of Hard Matter, including without limit, in the pre-
 9   production financing, pre-production planning and marketing, post-production
10   planning and marketing, and/or the Moral Turpitude Disbarment or prior trial court
11   ruling against Bret Saxon at any time.
12         94. Plaintiff was unaware of the concealed facts alleged above.
13         95. Defendants intended to deceive Plaintiff by concealing the facts alleged
14   above.
15         96. Had Plaintiff been aware of the concealed facts alleged above, it would
16   not have invested $5,050,000 into the production of Hard Matter.
17         97. As a direct and proximate cause of Defendants concealing the facts
18   alleged above, Plaintiff has been harmed in an amount to be proven at trial, but not
19   less than $5,050,000.
20                               THIRD CAUSE OF ACTION
21                 [Violation of Penal Code § 496 as against all Defendants]
22         98. Plaintiff hereby reincorporates each and every allegation in this complaint
23   as if fully set forth without duplication or repetition.
24         99. Pursuant to Penal Code § 496, it is unlawful for any person to conceal,
25   sell, withhold, or aid in concealing, selling, or withholding any property from its
26   owner, knowing the property to be stolen or wrongfully obtained.
27         100. Any person that violates Penal Code § 496 is liable for three times the
28   amount of actual damages, costs of suit, and reasonable attorney’s fees.              Siry
                                         25
                                            COMPLAINT
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 1   Investment, L.P. v. Farkhondehpour, 13 Cal.5th 333, 347-348 (Cal. Sup., 2022).
 2         101. By the conduct of Defendants alleged above and herein, Defendants have
 3   violated Penal Code § 496.
 4         102. As a direct and proximate cause of the wrongful conduct of Defendants,
 5   Plaintiff has been harmed in an amount to be proven at trial.
 6                             FOURTH CAUSE OF ACTION
 7                       [Breach of Contract as against Defendant WC]
 8         103. Plaintiff hereby reincorporates each and every allegation in this complaint
 9   as if fully set forth without duplication or repetition.
10         104. As alleged above, Price Productions and WC are parties to the written
11   First Contingent Agreement.
12         105. As alleged above, pursuant to the Revised Contingent Agreement, Price
13   Productions assigned its interest to the Revised Contingent Agreement to Plaintiff.
14         106. Plaintiff has performed all conditions, covenants, and promises required
15   by it on its part to be performed in accordance with the terms and conditions of the
16   First Contingent Agreement and Revised Contingent Agreement, except those
17   obligations that Plaintiff was prevent or excused from performing.
18         107. WC has breached the First Contingent Agreement and Revised
19   Contingent Agreement by, among other things:
20               a.     Defendants, and each of them, taking and converting (stealing) for
21        themselves the $2.5MM in money Plaintiff paid to “lock up” Mel Gibson for the
22        Film, as more fully alleged hereinabove, in ¶¶ 32-36 and 38, for example;
23               b.     Failing to complete Hard Matter;
24               c      Refused to allow Plaintiff to audit the costs and expenses of Hard
25                      Matter, and failing to provide ongoing accurate cost reports during
26                      the production of Hard Matter; and
27               d.     Making key creative, artistic, and business decisions relating to the
28                      development, production, distribution, and other exploitation
                                            26
                                            COMPLAINT
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 1                      decisions for Hard Matter without Plaintiff’s knowledge or
 2                      consent.
 3         108. Each, some, or all of the above breaches by WC were a substantial factor
 4   in causing injury to Plaintiff, and none of these breaches were excused.
 5         109. As a direct and proximate cause WC’s breaches of the First Contingent
 6   Agreement and Revised Contingent Agreement, Plaintiff has been harmed in an
 7   amount to be proven at trial, but not less than $5,050,000.
 8                                 FIFTH CAUSE OF ACTION
 9                                           [Count I]
10                    [Conversion as Against the Wonderfilm Defendants]
11         110. Plaintiff hereby reincorporates each and every allegation in this complaint
12   as if fully set forth without duplication or repetition.
13         111. As alleged above, the Wonderfilm Defendants facilitated, aided and
14   abetted, took, and wrongfully retained $5,050,000 of Plaintiff’s funds.
15         112. By retaining and refusing to return Plaintiff’s property, the Wonderfilm
16   Defendants have knowingly, intentionally, and substantially interfered with
17   Plaintiff’s property.
18         113. Plaintiff has not consented to the Wonderfilm Defendants retaining
19   Plaintiff’s property.
20         114. By the Wonderfilm Defendants retaining and refusing to return Plaintiff’s
21   property, Plaintiff has been harmed.
22         115. As a direct and proximate cause of the wrongful conduct of the
23   Wonderfilm Defendants, Plaintiff has been harmed in an amount to be proven at trial,
24   but not less than $5,050,000.
25                                 FIFTH CAUSE OF ACTION
26                                           [Count II]
27        [Conversion as Against Defendants Amy Saxon, WF Group, and WFHM]
28         116. Plaintiff hereby reincorporates each and every allegation in this complaint
                                              27
                                            COMPLAINT
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 1   as if fully set forth without duplication or repetition.
 2         117. As alleged above, Amy Saxon, WF Group, and WFHM facilitated, aided
 3   and abetted, took, and wrongfully retained $500,000 of Plaintiff’s funds.
 4         118. By retaining and refusing to return Plaintiff’s property, Amy Saxon and
 5   WFHM have knowingly, intentionally, and substantially interfered with Plaintiff’s
 6   property.
 7         119. Plaintiff has not consented to Amy Saxon, WFG, and WFHM retaining
 8   Plaintiff’s property.
 9         120. By Amy Saxon, WFG, and WFHM retaining and refusing to return
10   Plaintiff’s property, Plaintiff has been harmed.
11         121. As a direct and proximate cause of the wrongful conduct of Amy Saxon
12   and WFHM, Plaintiff has been harmed in an amount to be proven at trial, but not less
13   than $500,000.
14                               FIFTH CAUSE OF ACTION
15                                          [Count III]
16               [Conversion as Against Defendants Podolska and Lucky Owl]
17         122. Plaintiff hereby reincorporates each and every allegation in this complaint
18   as if fully set forth without duplication or repetition.
19         123. As alleged above, Podolska and Lucky Owl facilitated, aided and abetted,
20   took, and wrongfully retained $450,000 of Plaintiff’s funds.
21         124. By retaining and refusing to return Plaintiff’s property, Podolska and
22   Lucky Owl have knowingly, intentionally, and substantially interfered with Plaintiff’s
23   property.
24         125. Plaintiff has not consented to Podolska and Lucky Owl retaining
25   Plaintiff’s property.
26         126. By Podolska and Lucky Owl retaining and refusing to return Plaintiff’s
27   property, Plaintiff has been harmed.
28         127. As a direct and proximate cause of the wrongful conduct of Podolska and
                                             28
                                            COMPLAINT
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 1   Lucky Owl, Plaintiff has been harmed in an amount to be proven at trial, but not less
 2   than $450,000.
 3                               FIFTH CAUSE OF ACTION
 4                                          [Count IV]
 5               [Conversion as Against Defendants Davis and Epic Journey]
 6         128. Plaintiff hereby reincorporates each and every allegation in this complaint
 7   as if fully set forth without duplication or repetition.
 8         129. As alleged above, Davis and Epic Journey facilitated, aided and abetted,
 9   took, and wrongfully retained $450,000 of Plaintiff’s funds.
10         130. By retaining and refusing to return Plaintiff’s property, Davis and Epic
11   Journey have knowingly, intentionally, and substantially interfered with Plaintiff’s
12   property.
13         131. Plaintiff has not consented to Davis and Epic Journey retaining Plaintiff’s
14   property.
15         132. By Davis and Epic Journey retaining and refusing to return Plaintiff’s
16   property, Plaintiff has been harmed.
17         133. As a direct and proximate cause of the wrongful conduct of Davis and
18   Epic Journey, Plaintiff has been harmed in an amount to be proven at trial, but not
19   less than $450,000.
20                               FIFTH CAUSE OF ACTION
21                                           [Count V]
22         [Conversion as Against Defendant Salvatore and March on Productions]
23         134. Plaintiff hereby reincorporates each and every allegation in this complaint
24   as if fully set forth without duplication or repetition.
25         135. As alleged above, Salvatore and March on Productions facilitated, aided
26   and abetted, took, and wrongfully retained $200,000 of Plaintiff’s funds.
27         136. By retaining and refusing to return Plaintiff’s property, Salvatore and
28   March on Productions have knowingly, intentionally, and substantially interfered
                                         29
                                            COMPLAINT
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 1   with Plaintiff’s property.
 2         137. Plaintiff has not consented to Salvatore and March on Productions
 3   retaining Plaintiff’s property.
 4         138. By Salvatore and March on Productions retaining and refusing to return
 5   Plaintiff’s property, Plaintiff has been harmed.
 6         139. As a direct and proximate cause of the wrongful conduct of Salvatore and
 7   March on Productions, Plaintiff has been harmed in an amount to be proven at trial,
 8   but not less than $200,000.
 9                                SIXTH CAUSE OF ACTION
10             [Restitution, Money Lent, or Received as against all Defendants]
11         140. Plaintiff hereby reincorporates each and every allegation in this complaint
12   as if fully set forth without duplication or repetition.
13         141. Defendants are indebted to Plaintiff in the sum of $5,050,000.
14         142. As alleged above, the $5,050,000 received by Defendants from Plaintiff
15   was intended to be used to produce Hard Matter.
16         143. As alleged above, Defendants did not use the $5,050,000 to produce Hard
17   Matter, and instead used the funds to enrichment themselves at the expense of the
18   Film and Plaintiff.
19         144. Defendants have refused to return the $5,050,000 to Plaintiff despite
20   demand.
21         145. As a direct and proximate cause of the wrongful conduct of Defendants,
22   Plaintiff has been harmed in an amount to be proven at trial, but not less than
23   $5,050,000.
24                                  PRAYER FOR RELIEF
25        WHEREFORE, Plaintiff prays that this Court enter judgment awarding it the
26   following relief against Defendants:
27        1.     Damages in an amount to be determined at trial, but no less than
28               $5,050,000;
                                                 30
                                            COMPLAINT
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 1        2.    For Loss of Use of the $5,050,000 October 2021;
 2        3.    For Civil Penalties as permitted by law or statute, including Cal. Penal
 3              Code § 496 (c);
 4        4.    For restitution;
 5        5.    For Attorneys’ Fees as permitted by contract, law or statute, including
 6              Cal. Penal Code § 496(c);
 7        6.    For interest at the maximum legal rate;
 8        7.    For costs of suit incurred herein; and
 9        8.    For such other and further relief as this Court deems just and proper.
10                                        Respectfully submitted,
11
     Dated: September 12, 2023            LAW OFFICE OF JOSEPH M. KAR, PC
12

13
                                          By: /s/ Joseph M. Kar
14
                                            Joseph M. Kar
15
                                          BLANK ROME LLP
16
                                          Gregory M. Bordo
17                                        Craig N. Haring
18
                                          Attorneys for Plaintiff
19                                        GRIDIRON PRODUCTIONS, LLC
20

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                                              31
                                         COMPLAINT
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 1                                 DEMAND FOR JURY TRIAL
 2         Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a jury
 3   trial on issues so triable.

 4                                         Respectfully submitted,

 5
     Dated: September 12, 2023             LAW OFFICE OF JOSEPH M. KAR, PC
 6

 7
                                           By: /s/ Joseph M. Kar
 8                                           Joseph M. Kar
 9
                                           BLANK ROME LLP
10                                         Gregory M. Bordo
11                                         Craig N. Haring

12                                         Attorneys for Plaintiff
13                                         GRIDIRON PRODUCTIONS, LLC

14

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                                          COMPLAINT
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                   EXHIBIT 1
Case 2:23-cv-07574-TJH-JPR Document 1 Filed 09/12/23 Page 35 of 83 Page ID #:35




                                            111
                                      WONDERFILM




                                                    September 23, 2021



    Powell and Price Productions
    1910 Thomas Ave
    Cheyenne, WY 82001

    Re:   "Hard Matter"

    Dear Latavius and Justin:

                    This letter confirms the terms of the agreement between Wonder
    Capital, llc (referred to as "Company") and your production company, Powell and
    Price Productions ("Financier") with respect to the proposed production,
    distribution and exploitation of a feature film entitled “Hard Matter” ("Picture").
    Company and Financier are referred herein individually as “Party” and
    collectively as “Parties.”

    WHEREAS, The Parties intend to produce the Picture in the Fall of 2021 with
    principal photography commencing on or about November 15 2021. And,
    WHEREAS, The Parties intend to deliver the Picture in the Summer of 2022.

    WHEREAS, Financier agrees to provide production financing for the Picture in
    the amount of U.S. $5,050,000 (Five-Million-Fifty-Thousand Dollars) (“Outside
    Financing”), which represents a portion of the full budget, currently set at
    $7,300,000.

    WHEREAS, Company intends to make good faith efforts to obtain additional
    Outside Financing through the Louisiana state tax incentive program as well as
    from additional financiers to complete the budget, Financier understands that
    Company may use the Outside Financing to begin development, preproduction
    and production at any time while still working to secure the full budget.

    WHEREAS, Company permanently, and for so long as Company is acting in any
    capacity on the Picture, attaches Justin Price as the director of the Picture.
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    Additionally, Company permanently, and for so long as Company is acting in any
    capacity on the Picture, attaches Powell and Price Productions as a credited co-
    production entity.

    In consideration of the mutual promises contained herein the sufficiency of which
    is hereby agreed and acknowledged, the parties agree as follows:

    1. In the event Financier actually provides the Financing on or before September
    30, 2021, Financier shall be entitled to the following from 100% of any and all
    revenues actually received by Company, its parents, subsidiaries or affiliates, or
    any entity on its behalf, from the exploitation of the Picture (including any
    exploitable rights therein or elements thereof), worldwide, in any and all markets
    and any and all media now known or hereafter devised, from all sources:

            a. Recoupment of the Financing. Such recoupment shall be out of first
    revenues in, and pari passu relative to any other financier, if any, until Financier
    has recouped 115% of his contribution. In addition, Financier shall be entitled to
    such recoupment after Company has paid the following sums, if applicable, and
    Producer shall be entitled to maintain a reasonable reserve to cover anticipated
    amounts due under sub-paragraphs (i) and (ii) below:
                 (i) payments due to unions or guilds having jurisdiction over the
    Picture for residuals (including any music re-use or new use fees) in connection
    with the Picture, but only to the extent not paid by the distributor(s) of the Picture;
                (ii) any actual, direct, out-of-pocket costs and expenses of auditing,
    administering and collecting moneys paid and/or owing to Company from
    distributors and/or other licensees of the Picture and of paying taxes and other
    administrative expenses of Company;
                (iii) the fee and expenses payable to any third-party sales
    representative or sales agent and distribution attorney for the Picture; and,
                (iv) third party accounts payable or executory obligations of Company
    which are directly in connection with the production, delivery, sales, marketing,
    promotion and publicity of the Picture (e.g., for banking or creation of delivery
    items prior to complete delivery of the Picture to all distributors, and for storage of
    Picture elements); provided, however, if that if amounts payable under this
    paragraph 1(a)(iv) would cause the budget of the Picture to exceed $8,500,000,
    then Company shall obtain Financier’s approval of such expenses, failing which
    such expenses may not be recouped against sums payable to Financier under
    this agreement.

           b. Following recoupment of the amounts specified in Paragraph 1a above,
    Financier shall receive an additional five percent (5%) of his contribution
    (“Financier Deferral”).

           c. Following recoupment of the amounts specified in paragraph 1a and 1b
    above and payment of any and all deferred compensation to persons rendering
    services or granting rights in connection with the Picture, Financier shall receive
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    a pari passu portion with all other financiers, if any, of contingent compensation
    in an amount equal to 50% (“Investor’s Share Contingent Compensation”) of any
    and all revenues generated from any further exploitation of the Picture in
    perpetuity throughout the universe in all media known or developed in the future.

           D. Powell and Price Productions will receive a production company credit
    no later than third billing during the opening title sequence of the Picture. Justin
    Price, Latavius Powell, and Franziska Schissler will receive producer credits on
    the Picture. Any Additional credits will be agreed upon mutually between the
    Parties, and may not be unreasonably withheld.

          e. Financier shall have the first opportunity to participate as a financier on
    any sequels, remakes or other programs derived from the Picture.

    2. Financier shall be entitled to have its certified public accountant examine, audit
    and copy, at Financier’s sole cost and expense, those parts of the Company’s
    books and records which relate to the Picture during reasonable business hours
    at such place where said books and records are regularly maintained. Such
    examinations shall be made upon not less than ten (10) days prior notice, and
    shall not be held more frequently than once each calendar year. Additionally,
    Financier shall be provided with an ongoing cost report during the production of
    the Picture.

    3. Parties agree that for a transaction of this nature more formal documents may
    be required to affect the ultimate purpose of this Agreement and do hereby agree
    to incorporate the terms and conditions of this letter Agreement into said
    documents, if any. Parties agree to negotiate in good faith terms and conditions
    not contained herein using the standards and customs of the theatrical motion
    picture industry for such negotiations. Unless and until such further documents
    are executed, if ever, this Agreement shall bind and inure to the benefit of the
    Parties, their successors and assigns.

    4. Parties shall mutually agree to all key creative, artistic and business
    decisions relating to the development, production (final key cast and
    crew) , distribution and other exploitation of the Picture.

    5. This Agreement is governed by the laws of the State of California.

    6. The Parties represent and warrant and agree that each has the right to enter
    into this Agreement and neither is subject to any obligation or disability which will
    or might prevent one of the Parties from keeping and performing the covenants
    and conditions herein.

    7. This Agreement contains the full and complete understanding between the
    Parties and supersedes all prior agreements and understandings whether written
    or oral and cannot be modified except by a written instrument signed by both
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    Parties. Each Party acknowledges that neither Party, nor their agents nor
    representatives made any representation or promise not expressly contained in
    this Agreement.

    8. In the event of any dispute hereunder, Financier’s remedy shall be limited to
    an action at law for money damages, and in no event shall Financier have the
    right to seek injunctive or other equitable relief.




    If the foregoing comports with your understanding of our Agreement, please
    countersign below.

                                             Sincerely,
                                             Wonder Capital, llc


                                             Authorized Signatory



    AGREED AND ACCEPTED:



                                   Justin Price
    _________________________________________________________

          Powell and Price Production, LLC
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                   EXHIBIT 2
 Case 2:23-cv-07574-TJH-JPR Document 1 Filed 09/12/23 Page 40 of 83 Page ID #:40

                                                                                  Supreme Court of California
                                                           Jorge E. Navarrete, Clerk and Executive Officer of the Court Electronically
                                                                     FILED on 09/22/202 1 by Anita Ehner, Deputy Clerk


                                                  (State Bar Court No. 17-0-01259)

                                                                S270015

                    IN THE SUPREME COURT OF CALIFORNIA
                                                               En Banc

                                       In re BRET MERRICK SAXON on Discipline


                The court orders that Bret Merrick Saxon (Respondent), State Bar Number
          205100, is disbarred from the practice oflaw in California and that Respondent's
          name is stricken from the roll of attorneys.

                  Respondent must make restitution to Yarbrough Production Company, LLC
          and/or Jon Yarbrough, or such other recipient as may be designated by the Office of
          Probation or the State Bar Court, in the amount of $1,464,651.75 plus 10 percent
          interest per year from October 21, 2009 (or reimburse the Client Security Fund, to
          the extent of any payment from the Fund to such payee, in accordance with
          Business and Professions Code section 6140.5). Reimbursement to the Fund is
          enforceable as a money judgment and may be collected by the State Bar through
          any means permitted by law.

                Respondent must comply with California Rules of Court, rule 9.20, and
          perform the acts specified in subdivisions (a) and (c) of that rule within 30 and 40
          calendar days, respectively, after the effective date of this order.

                 Costs are awarded to the State Bar in accordance with Business and
          Professions Code section 6086.10 and are enforceable both as provided in
          Business and Professions Code section 6140.7 and as a money judgment, and may
          be collected by the State Bar through any means permitted by law.




    ;mg~ Navarrete, Clerk of the Supr~me Court




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. , die State of California, do hereby certify that the
 . ~.:e<ling is a true copy of an order of this Court as
                                                                                       CANTI L-SAKAUYE
J1own by the records ofmy otlice.                   .                                    Chief Justice
                                                 fuo


          By. - ~
                        . p!!\y
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                   EXHIBIT 3
Case 2:23-cv-07574-TJH-JPR Document 1 Filed 09/12/23 Page 42 of 83 Page ID #:42

                                                                                    FILED E.A.
                                                                                   5/26/2021
                              Public Matter                                  srATE sAR couRT
                                                                               CLERK'S OFFICE
                                                                                LOS ANGELES
                            STATE BAR COURT OF CALIFORNIA

                         HEARING DEPARTMENT - LOS ANGELES


 In the Matter of                                  )      Case No. 17-O-01259-YDR
                                                   )
 BRET MERRICK SAXON,                               )      DECISION AND ORDER OF
                                                   )      INVOLUNTARY INACTIVE
 State Bar No. 205100.                             )      ENROLLMENT
                                                   )

                                           Introduction

        In this disciplinary proceeding Bret Merrick Saxon (Respondent) is charged with a single

 count of misconduct for the alleged misappropriation of $1.5 million of entrusted funds from an

 investor in a movie Respondent was going to produce. The court finds, by clear and convincing

 evidence, that Respondent is culpable for the intentional and dishonest misappropriation of the

 investor’s funds, an act of moral turpitude. Moreover, in light of the serious nature and extent of

 Respondent’s misconduct, as well as the substantial aggravating and limited mitigating

 circumstances, the court recommends that Respondent be disbarred.

                                  Significant Procedural History

        The Office of the Chief Trial Counsel of the State Bar of California (OCTC) initiated this

 proceeding by filing a Notice of Disciplinary Charges (NDC) on December 19, 2018. On

 January 30, 2019, Respondent filed a motion to dismiss on the grounds that the proceeding was

 barred by rule 5.21 of the Rules of Procedure of the State Bar1 because the alleged violation took


        1
          Unless otherwise indicated, all references to “rule(s)” are to the Rules of Procedure of
 the State Bar.
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 place more than five years prior to the filing of the original NDC.2 OCTC opposed the motion.3

 On April 3, this court granted the motion and issued an order dismissing the case without

 prejudice, as OCTC had failed to proffer evidence in support of its contentions regarding

 applicable tolling provisions.

        OCTC filed an Amended Notice of Disciplinary Charges (ANDC) on May 30, 2019,

 which included more facts about the relationship between the complaining witness, Jon

 Yarbrough (Yarbrough), and Respondent, including information about the civil remedies sought

 in other court proceedings. Respondent filed a second motion to dismiss on the same grounds as

 before. OCTC similarly opposed this motion. Ultimately, on July 31, this court granted

 Respondent’s motion to dismiss with prejudice, finding that the five-year time limit elapsed

 despite the other court proceedings and Respondent’s conduct was not a continuing violation.

 OCTC appealed.

        The Review Department, by Opinion and Order filed June 26, 2020, found that the

 ANDC related back to the original NDC, which was filed within the five-year limit. The Review

 Department based its calculation of the limitations period “from the date of the filing of the

 original NDC, which was December 19, 2018” to “the 2014 completion of the escrow

 arrangement alleged in the ANDC” – finding that Respondent’s breach of his fiduciary duty to

 hold Yarbrough’s funds in trust was a continuing violation and ended when the purpose of the

 escrow arrangement was fulfilled.4 As such, this matter was remanded back to the Hearing

 Department for further proceedings consistent with the Opinion and Order.


        2
            Respondent also filed an answer to the NDC on February 13, 2019.
        3
         OCTC argued that the limitations period should be tolled by the periods that the
 complainant sought civil remedies against Respondent and during Respondent’s continued
 breach of his fiduciary duties.
        4
           Although not dispositive to its ultimate conclusion, the Review Department found that
 the limitations period was also tolled during the pendency of the civil proceedings in Tennessee
                                                 -2-
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         This court thereafter held a status conference on August 24, 2020, and set pre-trial and

 trial dates.

         On October 1, 2020, Respondent filed a third motion to dismiss on the same grounds as

 before, but raising the issue of whether a settlement agreement entered into by Yarbrough and

 Respondent extinguished Respondent’s fiduciary duties in 2010 rather than in 2014 as the

 Review Department had found.5 OCTC opposed the motion as it would require presentation of

 evidence, i.e., the settlement agreement, and a determination on the merits as to the legal effect,

 if any, of the settlement agreement. On December 2, this court denied Respondent’s motion

 finding that the settlement agreement upon which he relied was not part of the ANDC and

 Respondent failed to establish that it was appropriate for judicial notice.

         On December 8, 2020, the parties filed a stipulation as to facts and admission of

 documents (Stipulation). On that same date, based upon OCTC’s second supplemental pretrial

 statement reflecting its intent to call an expert witness regarding the legal effect of the settlement

 agreement, the court issued an order for the parties to submit a summary of any expert testimony

 each party intended to offer by December 18. OCTC submitted proposed expert testimony.

 Respondent opposed OCTC’s proposed expert testimony and requested that it be excluded.

         On January 11, 2021, the court issued an order excluding the proposed expert testimony

 proffered by OCTC, as the proposed testimony would constitute impermissible expert testimony

 regarding legal conclusions, specifically contract interpretation. In this order, the court also

 declined Respondent’s request to bifurcate the proceedings by first addressing the issues relating

 to the settlement agreement separate from the culpability portion of the proceedings.


 based on the same acts or circumstances as the alleged violation. However, the subsequent
 sister-state judgment by California and bankruptcy proceedings were “derivative” of the civil
 proceedings in Tennessee and therefore did not toll the limitations period.
         5
          The Review Department was not made aware of any settlement agreement and did not
 consider it in their analysis of the fiduciary relationship between Yarbrough and Respondent.

                                                  -3-
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         Trial was conducted January 12-14, January 21, and February 9, 2021.6

         After the close of evidence, on February 24, 2021, Respondent filed a fourth motion to

 dismiss the proceedings on the same grounds as his October 1, 2020 motion to dismiss. OCTC

 filed an opposition to the motion on March 1, 2021.7

         OCTC, represented by Supervising Attorney Anand Kumar and Deputy Trial Counsel

 Sujith Divakaran, filed its closing argument brief on March 2, 2021. Respondent, represented by

 Ronald Richards, Esq., filed a closing brief the next day. The matter was submitted for decision

 on March 2, 2021.

                                             Jurisdiction

         Respondent was admitted to the practice of law in California on December 6, 1999, and

 has been licensed to practice law at all times since that date.

                             Findings of Fact and Conclusions of Law

         The following findings of fact are based on the Stipulation filed by the parties and the

 documentary and testimonial evidence admitted at trial.

 Facts

         At all relevant times, Respondent was either sole shareholder, owner, chairman of the

 board, managing member, and/or president of IMG Film, Incorporated (IMG), Set in Space, Inc.

 (Set in Space), Saxon Holding Company dba The Marketing Partners (TMP), and Conduit

 Media, Inc. (Conduit Media). There is no meaningful distinction between Respondent and his




         6
          Due to the Covid-19 pandemic, this trial took place on the Zoom platform pursuant to
 California Rules of Court, Emergency Rule 3, adopted by the Judicial Council and effective
 April 6, 2020 through the date of this decision. Each witness (other than Respondent) confirmed
 that they had refrained from accessing the trial prior to appearing to testify.
         7
        For the reasons discussed post, under “Conclusions of Law,” the court herein denies
 Respondent’s motion.

                                                  -4-
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 respective entities for the purposes of these proceedings. At all relevant times, investor

 Yarbrough was a managing member of Yarbrough Production Company, LLC (YPC).

        Original October 6, 2009 Financing Agreement

        On or about October 6, 2009, Respondent, through his ownership and/or control of Set in

 Space and IMG, entered into an agreement with YPC (Financing Agreement), whereby YPC

 would invest $1.5 million and IMG would invest $3.5 million (Combined Financing) to fund Set

 in Space’s production of a motion picture project tentatively entitled “Fandango” (Picture).

 Respondent was effectively functioning as both an investor, through IMG, and escrow

 holder/producer, through Set in Space, per the terms of the Financing Agreement.

        Regarding the receipt and handling of investor funds, section 1(b)(ii) of the Financing

 Agreement provided:

                All Financing advances shall be advanced directly to Bank of
                America, ABA # [9593], and Account # [9789] (the “Picture
                Account”), or such other bank account approved by Investors.
                The Picture Account shall be a segregated account and may only
                be used to receive Financing advances and sums solely to fund
                production costs of the Picture in accordance with this [Financing]
                Agreement, and Producer may not withdraw or otherwise use such
                monies for any other purpose. Any funds advanced to the Picture
                Account by an Investor shall be held in trust for such Investor until
                100% of the Combined Financing has been received into the
                Picture Account. Producer shall not be entitled to utilize any of
                the Combined Financing until 100% of the Combined
                Financing has actually been received into the Picture Account.
                Within ten (10) days after the date of this Agreement, Producer
                shall provide each Investor with evidence of receipt of 100% of the
                Combined financing into the Picture Account (“Funding
                Evidence”), which shall be in a form and substance satisfactory to
                each Investor, in each Investor’s sole discretion. If any Investor
                has not received Funding Evidence within ten (10) days after the
                date of this Agreement, then Producer shall return all funded
                portions of the Combined Financing to the relevant Investors.

 (Exh. 6, pp. 1-2, emphasis added.) Once received, Respondent was expected to utilize the

 Combined Financing “to fund 100% of the production costs, including, without limitation,


                                                 -5-
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 customary delivery costs, in accordance with the Approved Budget,” which was attached as an

 exhibit. (Exh. 6, p. 1.)

        Section 16 of the Financing Agreement, entitled “Merger” provided that the Financing

 Agreement set forth the entire agreement between the parties with respect to the Picture and may

 be amended or otherwise modified “only by writing signed by each party.” (Exh. 6, p. 9.)

        Concurrently with the Financing Agreement, Respondent signed a Guaranty, on behalf of

 IMG and as an individual, personally guaranteeing “the performance of all obligations of

 Producer under the [Financing] Agreement.” (Exh. 6, p. 12.)

        Enclosed with the Financing Agreement was an Information Certificate, dated October 7,

 2009, the accuracy and truth of which was confirmed by Respondent at the time the parties

 entered into the Financing Agreement. Respondent specifically represented in the Information

 Certificate that all material information, data, and facts regarding Set in Space and IMG, the $1.5

 million investment, the Picture, and the principals involved in the production had been disclosed

 to YPC. However, Respondent did not disclose all material information to YPC.

        For example, Respondent failed to disclose costs had already been incurred for supposed

 pre-production activities, or the fact that he intended to use YPC’s funds to reimburse these

 costs. Further, Respondent failed to disclose to YPC that neither he nor Set in Space nor IMG

 actually owned the rights to the Picture at the time the parties entered into the Financing

 Agreement. Rather, he had only been granted an option to purchase the rights to the screenplay

 for Fandango on or about October 27, 2009, after the Financing Agreement, and the copyright

 was not in fact assigned to Set in Space until on or about February 27, 2010. Finally, and

 perhaps most significantly, neither the name Conduit Media nor Conduit Media, Inc.’s Bank of

 America account, ending in 9746 (Conduit Media BOA Account) was listed anywhere on the

 Information Certificate. However, Conduit Media’s Union Bank account, account ending in


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 5100 (Conduit Media UB Account) was listed on the Information Certificate as a production

 account supposedly belonging to Set in Space.

        YPC’s Funds Wired to the Picture Account

        On October 21, 2009, YPC wired $1.5 million into the Picture Account. Prior to YPC’s

 $1.5 million deposit, the Picture Account had a beginning balance of $836.66. At no time did

 Respondent deposit $3.5 million into the Picture Account.

        Respondent’s Transfer of YPC’s $1.5 Million Funds

        On October 21, 2009, the same day that it was received, Respondent transferred the entire

 $1.5 million deposited by YPC from the Picture Account to an account controlled by

 Respondent, the Conduit Media BOA Account. Prior to this deposit of funds, the Conduit Media

 BOA Account had a balance of $0.

        Respondent’s Bank Withdrawals from the Conduit Media BOA Account

        Less than 10 days after Respondent transferred $1.5 million into the Conduit Media BOA

 Account, Respondent made unauthorized and undisclosed transfers, withdrawals, and check

 issuances totaling $1,277,000 from the Conduit Media BOA Account. YPC had not agreed to

 the distribution of the $1,277,000 in transactions which are set out below, none of which have

 been established to have been for production costs.

        On October 21, 2009, Respondent made three withdrawals from the Conduit Media BOA

 Account, totaling $559,000, which included transfers to TMP’s Bank of America account,

 account ending 9719 (TMP Account), and the Conduit Media UB Account.8 On October 22,

 Respondent made two more withdrawals from the Conduit Media BOA Account, totaling




        8
         On October 21, 2009, Respondent issued a check for $35,000 to IMG Film, Inc.’s Bank
 of America account, account ending 9722 (IMG Film Account); transferred $124,000 to the
 TMP Account; and transferred $400,000 to the Conduit Media UB Account.

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 $208,000, including another transfer to the Conduit Media UB Account.9 On October 23,

 Respondent transferred $400,000 from the Conduit Media BOA Account to the Conduit Media

 UB Account. Finally, on October 30, Respondent made two more withdrawals from the Conduit

 Media BOA Account, totaling $110,000, including another transfer to the TMP account.10

        Respondent’s Post-October 21, 2009 Withdrawals from the TMP Account

        Prior to October 21, 2009, the beginning balance in the TMP Account was $12,538.73.

 On October 21, 2009, the same day that Respondent transferred $124,000 to the TMP Account

 from the Conduit Media BOA Account, Respondent issued or caused to be issued 15 pre-printed

 checks from the TMP Account, totaling $32,936.47.11

        In all, between October 21, 2009, and November 13, 2009, Respondent made over two

 dozen payments from the TMP Account, totaling over $100,000, to pay for his personal

 expenses.12 Respondent could not explain how these payments were related to production costs

 and flatly admitted that several were indisputably for personal expenses, e.g., payments to his

 two ex-wives and his daughter, a charitable donation, and payments for roofing and his car.


        9
         On October 22, 2009, Respondent withdrew $8,000 in cash and transferred $200,000 to
 the Conduit Media UB Account.
        10
          On October 30, 2009, Respondent transferred $23,000 to the TMP Account and
 $87,000 to an unknown account.
        11
           The 15 pre-printed checks included checks paid to the following entities and/or
 persons: Verizon California for $1,838.57; The George Vinall ALS Foundation for $10,000;
 Time Warner Cable for $204.95; Drury Bros. Roofing for $8,052.55; Blue Cross of California
 for $4,915; Baron’s Orchids, Inc. for $188; Guthy Renker Corporation for $729.78; Harris
 Stationers, Inc. for $214.88; and Respondent’s ex-wife for $1,800.
        12
           In addition to the 15 pre-printed checks already noted, these payments included the
 following: on October 22, 2009, Respondent issued a check to his daughter for $264 and made
 an electronic payment to his Chase account for $17,057.55; on October 23, Respondent made
 two electronic transfers to Mb Financial for payment on his Mercedes Benz vehicle in the
 amounts of $1,778.19 and $4,747.19 and an electronic transfer to Directv for $239.45; on
 October 30, Respondent issued checks to his other ex-wife for $5,511.31 and his daughter for
 $252; on November 5, Respondent issued a check to Gelson’s Markets for $1,572.69; and on
 November 6 and November 13, Respondent issued checks to his daughter for $192 and $288,
 respectively.

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        YPC Requests Proof of Respondent’s Contribution to the Combined Financing

        YPC, through Yarbrough and Todd McTavish, Esq., corporate counsel for YPC, made

 repeated requests for the Funding Evidence, which, as required by the Financing Agreement,

 should have been provided within 10 days after execution of the Financing Agreement, on or

 about October 16, 2009.

        On January 25, 2010, McTavish responded to an email from Respondent indicating that

 he had “repeatedly requested the bank statements showing the deposit of the [$3.5 million] from

 [Respondent] and [Respondent] never provided it.” (Exh. 13, p. 5.) McTavish also intimated

 that Respondent was deferring this request by calling it “time-consuming” and claiming that it

 interfered with production because Respondent never in fact deposited the $3.5 million. (Id.)

        Instead of providing proof of his $3.5 million deposit on behalf of IMG, Respondent

 faxed several bank statements to YPC, including those from the Conduit Media BOA Account

 demonstrating $1 million in deposits, which actually represented the movement of YPC’s money

 and not any portion of Respondent’s $3.5 million contribution to the Combined Financing.

        The next day, McTavish emailed Respondent to request contact information for

 Respondent’s accountant because Respondent had told Yarbrough that YPC could obtain the

 requested documentation directly from Respondent’s accountant. Respondent never provided

 the accountant’s contact information. However, Respondent and Yarbrough met on February 6,

 2010, and went over the statements that Respondent previously faxed, with Respondent insisting

 that he had deposited the $3.5 million and confirming the accuracy of the bank statements.

        On February 8, 2010, McTavish emailed Respondent again and requested bank

 statements “sufficient to conclusively prove that the $1.5 million and the $3.5 million deposits

 were made, as required under the Financing [A]greement” and if Respondent was not able to

 provide such documentation then Respondent was instructed to refund YPC’s $1.5 million


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 investment. (Exh. 13, p. 1.) Respondent neither provided the requested documentation nor

 refunded YPC’s $1.5 million investment.

        YPC’s Civil Proceedings Against Respondent & October 1, 2010 Settlement Agreement

        On February 9, 2010, YPC filed a civil action against Respondent in Tennessee Chancery

 Court alleging breach of contract, fraud, fraud in the inducement, enforcement of guarantee

 agreement and breach of trust, entitled Yarbrough Production Company, LLC v. Bret Saxon, Set

 in Space, Inc., and IMG Film, Inc., case No. 37602 (Tennessee Action).

        On or about October 1, 2010, Respondent and YPC entered into a stipulated settlement

 agreement which required Respondent to pay YPC $2,250,000 on or before October 19, 2010

 (Settlement Agreement). The Settlement Agreement provided that in the event Respondent,

 IMG, and Set in Space (collectively Defendants), did not make the payment by October 19 at

 12:01 a.m., YPC could file a Final Order regarding liability and damages in the amount of

 $2,250,000 against Defendants.

        Section 1.3 of the Settlement Agreement was entitled “Full and Complete Release and

 Waiver of Rights” which, in relevant part provides:

               Subject to Defendants’ full and timely performance of their
               obligations under this [Settlement] Agreement, YPC, its heirs…
               do hereby remise, release… Defendants… from any and all
               manner of debts, security interests … liabilities, [and] obligations
               … including, but not limited to, any rights…under the terns [sic] of
               the Financing Agreement and/or Guaranty. Further, upon signing
               this [Settlement] Agreement and the payment in section 1.1, the
               Financing Agreement, Guaranty, and any terms contained therein
               shall immediately and irrevocable become null and void and all
               rights, assets, and benefits acquired thereunder shall be
               immediately and revoked and/or terminated…The phrase “full and
               timely” in the first sentence of this section means that performance
               requires that the full settlement amount be tendered to YPC by
               wire transfer or certified funds by October 19, 2010, at 12:01 a.m.
               (pacific time). Defendants shall not raise any defense or excuse if
               such funds are not deposited by such time in furtherance of a claim
               that Defendants timely and fully performed their obligations
               pursuant to this [Settlement] Agreement.

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 (Exh. A, p. 2 (emphasis added).)

        Respondent, either individually or as representative of his companies, did not pay YPC

 $2,250,000, or any portion thereof, on or before October 19, 2010.

        Consequently, on October 27, 2010, YPC filed and entered the Final Order in the

 Tennessee Action, which included liability for breach of contract, fraud, enforcement of the

 guarantee agreement, and breach of trust in addition to stipulated damages of $2,250,000 against

 Defendants pursuant to Section 1.1 of the Settlement Agreement (Tennessee Final Order). The

 Tennessee Final Order further provided that “Plaintiff and Defendant[s] further agree, and this

 Court further finds, that the liability and damages herein found are not dischargeable pursuant to

 11 U.S.C. § 523(a)(2).”13 (Exh. 24, p. 2.)

        As a result of the Tennessee Final Order, YPC was able to collect $7,126 from a Sheriff’s

 sale of property owned by Respondent.

        YPC’s Sister-State Judgment Against Respondent

        After the entry of the Tennessee Final Order, Yarbrough retained the Law Offices of

 Michael Raichelson to represent YPC and pursue a sister-state judgment against Respondent in

 California. On April 24, 2013, the Los Angeles County Superior Court entered an Amended

 Judgment on Sister-State Judgment which provided in relevant part, “[t]hat the Tennessee Final

 Order is entered as a Sister-State Judgment in the favor of [YPC] and against [Respondent, Set in

 Space, and IMG] in the amount remaining unpaid on sister-state judgment of $2,242,874.00,

 filing fee for application of $435.00, accrued interest on sister-state judgment of $405,967.59.”

 (Exh. 14, p. 18.)



        13
           This court notes, however, that the bankruptcy court ruling on YPC’s motion for
 summary judgment, found that “[t]he Tennessee Court did not have authority to make a finding
 under § 523(a)(2) because only bankruptcy courts may adjudicate § 523(a)(2) dischargeability
 issues. [Citation].” (Exh. 14, p. 41.)

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 Respondent’s Bankruptcy Petition and YPC Adversary Proceeding

        On September 5, 2013, Respondent filed for Chapter 7 Bankruptcy in the United States

 Bankruptcy Court, Central District (Bankruptcy Court), In re Bret Merrick Saxon, case No. 2:13-

 bk-32314-TD. And, on November 30, 2013, YPC filed an adversary complaint in Bankruptcy

 Court, Yarbrough Production Company, LLC. vs. Bret Merrick Saxon, case No. 2:13-ap-02141-

 SK, challenging the dischargeability of the stipulated damages to be paid by Respondent as

 ordered by the Tennessee Final Order.

        On May 21, 2015, the Bankruptcy Court granted YPC’s Motion for Summary Judgment,

 only as to YPC’s second cause of action, finding that Respondent’s obligation to pay the

 $2,250,000 stipulated judgment was non-dischargeable in bankruptcy court pursuant to

 11 U.S.C. section 523, subdivision (a)(4), based on Respondent’s defalcation of YPC’s

 investment funds while acting in a fiduciary capacity. The Bankruptcy Court denied the Motion

 for Summary Judgment as to the first (fraud under 11 U.S.C. § 523, subd. (a)(2)) and third

 (willful and malicious injury under 11 U.S.C. § 523, subd. (a)(6)) causes of action and the matter

 proceeded to trial.

        On June 28, 2016, the Bankruptcy Court orally issued and entered a final ruling after trial

 finding that Respondent’s obligation to pay the $2,250,000 judgment was a non-dischargeable

 debt on several grounds. Most notably, the court found multiple fraudulent misrepresentations

 by Respondent in the inducement of the Financing Agreement and found that Respondent

 intentionally and unlawfully converted YPC’s $1.5 million in breach of the Financing

 Agreement by transferring the money to the Conduit Media BOA Account. As a result, the




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 Bankruptcy Court entered a judgment of nondischargeability under 11 U.S.C. section 523,

 subdivisions (a)(2)(A) [fraud] and (a)(6) [willful and malicious injury].14

        As a result of the Bankruptcy Court ruling, YPC recovered an additional $28,222.25 from

 proceeds obtained by the Chapter 7 Bankruptcy Trustee as a result of a settlement related to a

 separate fraudulent action.

        The Picture

        Production of the Picture appears to have begun sometime after October 7, 2009, as

 evidenced by the Information Certificate, which refers to production insurance that Set in Space

 will have “starting in pre-production.” (Exh. 6, p. 30.) As of October 2012, production had

 apparently not yet been completed.15 The Picture, titled “A Fine Step,” was ultimately produced

 and released in 2014.

 Conclusions of Law16

        Respondent’s Motion to Dismiss Based Upon the Rule 5.21 Limitations Period

        Rule 5.21(A) provides that there is a five-year time limit on the initiation of disciplinary

 charges based solely on a complainant’s allegations of misconduct. Here, both parties concede

 that this disciplinary matter is based solely on complainant (YPC)’s allegations of misconduct.




        14
            The Bankruptcy Court findings are entitled to great weight and carry a “strong
 presumption of validity.” (Maltaman v. State Bar (1987) 43 Cal.3d 924, 947 [civil findings
 entitled to “strong presumption of validity” if supported by substantial evidence”].)
        15
           Although Respondent testified at trial that he had completed production by March or
 April 2010, the documentary evidence presented belies that fact as there are numerous mentions
 of production halting in 2010 on account of litigation with another party and remaining
 unfinished in 2012. (See, e.g., Exh. 27, p. 2; Exh. 14, p. 67.) Respondent appears to conflate the
 end of production with the end of filming. However, as reflected in the Approved Budget,
 attached to the Financing Agreement, there were numerous post-filming production tasks and
 costs.
        16
          All unspecified statutory references are to the Business and Professions Code, unless
 otherwise indicated.
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 Thus, the five-year time limit applies. At issue is when the five-year limit began to run and

 whether the time limit was sufficiently tolled by any applicable tolling provisions or events.

        Rule 5.21(B) specifies that if the alleged violation is a continuing offense then the date of

 the violation, for the purposes of determining when the five-year limit begins, is the date “the

 offensive conduct ends.” Moreover, the five-year limit is tolled “while the attorney represents

 the complainant, the complainant’s family member, or the complainant’s business or employer.”

 (Rule 5.21(C)(1).) Importantly, the Review Department found this applicable to the fiduciary

 relationship between Respondent and YPC.17 Based on the information before them, the Review

 Department further determined that this relationship continued until the purpose for which

 Respondent was holding YPC’s funds was accomplished --- 2014 with the completion of

 production and release of the film.

        Respondent now raises the argument that the fiduciary relationship between the parties

 was extinguished by the execution of the Settlement Agreement on October 1, 2010, whereby the

 parties agreed to a “Full and Complete Release and Waiver of Rights.” However, this court is

 not persuaded that Respondent’s fiduciary relationship was extinguished by the execution of the

 Settlement Agreement for two reasons.

        First, the release and waiver of rights was expressly conditioned upon Respondent’s full

 and timely payment of the stipulated damages. Respondent did not, and still has not, made full,

 let alone timely, payment of the stipulated damages. Thus, Respondent’s duties and obligations

 under the Financing Agreement were not terminated as he did not actually fully and timely


        17
            Specifically, the Review Department found that “[a]ppellate courts have used the word
 ‘represents’ to describe the limited agency of an escrow relationship, stating that the agent ‘only
 represents his principal insofar as he carries out the escrow instructions.’ (Hannon v. Western
 Title Insurance Co. (1989) 211 Cal.App.3d 1122, 1127; see Lee v. Escrow Consultants, Inc.
 (1989) 210 Cal.App.3d 915, 920–921, citing Kirby v. Palos Verdes Escrow Co. (1986) 183
 Cal.App.3d 57, 64.)…Thus, neither the Rules of Procedure of the State Bar nor case law requires
 us to limit the tolling provision in rule 5.21 to attorney-client relationships.”

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 perform his obligations under the Settlement Agreement such that the release and waiver of

 rights took effect. Instead, YPC was forced to file a Final Order with the Tennessee court,

 resulting in a stipulated judgment in favor of YPC and against Respondent, which contained no

 mention of a stipulated release and waiver of rights.

         Second, Respondent cannot take advantage of his own fraud and subsequent agreement to

 pay resultant penalties in order to rebut the continuation of a fiduciary relationship and his

 ongoing duties to care and account for entrusted funds. Respondent does not, nor can he, argue

 that he was never in a fiduciary relationship with YPC. Rather, he seeks to avail himself of the

 consequences of his own fraud “to disclaim the continuation of a fiduciary relationship following

 his assumption of a hostile attitude towards [YPC].” (Stevens v. Marco (1956) 147 Cal.App.2d

 357, 376.) This does not, as a matter of law, relieve Respondent of his fiduciary duties.

 Respondent, who was at all times the custodian of YPC’s investment funds, continued to utilize

 YPC’s investment funds for his own purposes, and continued to produce the Picture for which

 YPC’s investment funds were originally intended to be used. Thus, the fiduciary relationship

 between the parties continued at least until YPC’s funds were properly distributed,18 the purpose

 for which YPC’s funds were to be used was accomplished (i.e., the production of the Picture), or

 the funds were rightfully returned to YPC. Respondent failed to establish that any of these three

 events occurred prior to 2014 and thus the five-year limit did not expire until 2019, at the

 earliest.



         18
           Despite admitting that he had no way of distinguishing YPC’s funds from his own,
 Respondent seeks to disavow himself of the fiduciary relationship by also claiming that, since he
 spent more than $1.5 million in production-related costs by around March 2010, he had spent all
 of YPC’s money by that date and no longer had or could have a duty to hold its funds in trust.
 This ignores crucial facts – Respondent was not entitled to spend that money as it was required
 to be held in trust until the entire Combined Financing had been deposited in the Picture Account
 before being spent on production related costs, and as of February 8, 2010, at the latest,
 Respondent had a duty to return the money as YPC had requested.

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         This court further finds that, although the ultimate purpose for which the Financing

 Agreement was created ceased to exist in 2014, Respondent had duties under the Financing

 Agreement independent of the production of the Picture because his duties first required him to

 maintain YPC’s funds in trust until the entire Combined Financing had been deposited, an event

 which never occurred. Accordingly, Respondent is alleged to have breached his fiduciary duties

 under the Financing Agreement in a myriad of ways, including by failing to hold the funds in

 escrow until 100% of the Combined Financing had been received and by failing to return the

 funds to YPC upon request when the terms with respect to the deposit of the entirety of the

 Combined Financing were violated, by instead spending YPC’s funds (to which he was not

 entitled) through the release of the film in 2014. This created a continuing violation beyond the

 time when Respondent withdrew YPC’s money from the escrow account, i.e., the Picture

 Account.

         In fact, since Respondent never returned or ever properly accounted for YPC’s entrusted

 funds, he arguably never terminated the course of conduct upon which the charged violation was

 based, i.e., Respondent’s misappropriation of funds by his breach of fiduciary duty in failing to

 carry out the instructions of the Financing Agreement. (See, e.g., In the Matter of McCarthy

 (Review Dept. 2002) 4 Cal. State Bar Ct. Rptr. 364, 377–378 [misconduct based upon breach of

 fiduciary duty and misappropriation resulted “not only from his initial failure [to maintain the funds],

 but from his ultimate failure to distribute” them notwithstanding a municipal court judgment and

 bankruptcy court finding of nondischargeability]; In the Matter of Dyson (Review Dept. 1990) 1 Cal.

 State Bar Ct. Rptr. 280, 286 [attorney had ongoing fiduciary duty to client to hold in trust settlement

 funds subject to medical liens; attorney’s duty to clients lasted until debt paid].) However, even

 assuming that the alleged violation terminated when the movie was produced in 2014 and ended

 Respondent’s duties to hold YPC’s funds in trust, the NDC, filed December 19, 2018, was

 nevertheless filed timely within five years of such date.

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         Separately, OCTC argues that Respondent’s concealment of facts about the violation and

 the Tennessee Action along with criminal and administrative investigations based on the same

 underlying acts or circumstances also sufficiently tolled the five-year limitations period.19 The

 court need not address each of these reasons for tolling based on the above finding of a

 continuing violation and ongoing fiduciary relationship between Respondent and YPC lasting

 until at least 2014.

         Based on the foregoing, and for lack of good cause shown, Respondent’s motion to

 dismiss filed on February 24, 2021, is denied as the court finds that OCTC timely filed the NDC

 on December 19, 2018. Having found that this proceeding is not barred by the five-year

 limitations rule and was filed timely, the court now turns to the culpability findings.

         Count One – § 6106 [Moral Turpitude - Misappropriation]

         Section 6106 provides, in part, that the commission of any act involving dishonesty,

 moral turpitude, or corruption constitutes cause for suspension or disbarment, whether the act is

 committed in the course of his relations as an attorney or otherwise.

         In Count One, OCTC alleges that Respondent committed an act of moral turpitude

 through his willful and intentional misappropriation of YPC’s $1.5 million in entrusted funds by

 removing them from the Picture Account and depositing them into other accounts controlled by

 Respondent, before first depositing his $3.5 million share of the Combined Financing, contrary

 to the express terms of the Financing Agreement and without the authority to do so.



         19
           OCTC asserts that the proceedings were tolled for a total of 1,557 days, as follows: 110
 days from October 21, 2009, to February 8, 2010, while Respondent concealed the fact that
 YPC’s funds had been removed from the picture account until the filing of the Tennessee Action;
 260 days from February 9, 2010, to October 27, 2010, during the pendency of the Tennessee
 Action; 265 days from May 25, 2011, to February 14, 2012, during the pendency of a Tennessee
 Department of Commerce and Insurance investigation; and 922 days from July 26, 2012, to
 February 2, 2015, during the pendency of a United States Attorney’s Office criminal
 investigation.

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        It is well settled that “the wilful misappropriation of a client’s funds involves moral

 turpitude. [Citation.]” (McKnight v. State Bar (1991) 53 Cal.3d 1025, 1033-1034.) “[A]n

 attorney’s failure to use entrusted funds for the purpose for which they were entrusted constitutes

 misappropriation. [Citation.]” (Baca v. State Bar (1990) 52 Cal.3d 294, 304.) And willful

 misappropriation of entrusted funds amounts to theft, one of the most serious breaches of

 professional trust that a lawyer can commit. (Howard v. State Bar (1990) 51 Cal.3d 215, 221.)

 While moral turpitude generally requires a certain level of intent, guilty knowledge, or

 willfulness, the law is clear that where an attorney’s fiduciary obligations are involved,

 particularly trust account duties, even a finding of gross negligence will support such a charge.

 (In the Matter of Blum (Review Dept. 2002) 4 Cal. State Bar Ct. Rptr. 403, 410.)

        During all relevant times, YPC was not Respondent’s client and Respondent was not

 acting as YPC’s attorney. Nonetheless, Respondent was a fiduciary to YPC by virtue of his

 receipt of entrusted funds pursuant to the Financing Agreement and Respondent is held to the

 duties outlined in the rules and statutes governing attorney conduct in this regard. (See

 Johnstone v. State Bar (1966) 64 Cal.2d 153, 155-156 [attorney who receives money on behalf

 of a third party is a fiduciary to such third party and when he “violates his [fiduciary] duty in a

 manner that would justify disciplinary action if the relationship had been that of attorney and

 client, he may properly be disciplined for his misconduct”]; see also Crooks v. State Bar (1970) 3

 Cal.3d 346, 355 [attorney acting as escrow agent breached fiduciary duty to third party involved

 in transaction by distributing funds in violation of escrow agreement].)

        Respondent acknowledges that he did not deposit any of his funds into the Picture

 Account as required by the Financing Agreement and that he transferred the YPC funds out of

 the Picture Account and into non-segregated accounts over which Respondent had control. Yet,

 Respondent contends that, contrary to the language of the Financing Agreement, his transfer of


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 the YPC funds was done with the verbal approval of various YPC representatives. Respondent

 also argues that his misappropriation was merely “technical” as “[t]he money was not stolen.”

 (Respondent’s Closing Brief, pp. 2-3.) However, the court finds these arguments unavailing.

        As to his first claim, Respondent’s contention, hinging solely on his own testimony, is

 not credible. (In the Matter of Oheb (Review Dept. 2006) 4 Cal. State Bar Ct. Rptr. 920, 935, fn.

 13 [attorney’s unexplained failure to substantiate testimony with evidence expected to be

 produced is strong indication testimony not credible].) Respondent could not identify the YPC

 representatives that gave such approval, when this alleged approval took place, the specific

 nature of the alleged approval, nor any documentation of the alleged approval. The terms of the

 Financing Agreement were clear and did not provide for modification via oral agreement.

 Specifically, the terms required that Respondent deposit his $3.5 million share of the Combined

 Financing into the Picture Account and provide proof of such deposit within 10 days of the

 execution of the Financing Agreement. In addition to the proof of the $3.5 million deposit, the

 Financing Agreement required such deposit to take place before Respondent could “withdraw or

 otherwise use such monies for any other purpose.” (Exh. 6, p. 2.) Respondent never provided

 proof of his deposit because he admittedly never deposited the $3.5 million into the Picture

 Account. Yet, he withdrew and began using YPC’s funds nonetheless. Apart from his self-

 serving testimony, Respondent could not point to any evidence of YPC’s approval of terms

 modifying the Financing Agreement as he claimed.

        Even if the transfer of funds to the Conduit Media BOA Account had been approved,

 Respondent stipulated that his subsequent transfers, withdrawals, and/or check issuances,

 totaling $1,277,000 of the $1.5 million in YPC’s funds which were then being held in the

 Conduit Media BOA Account, were unauthorized and undisclosed. The witness testimony and

 documentary evidence received at trial confirmed that YPC was not aware of and did not agree


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 to this subsequent spending of said funds (either for personal or other expenses, including pre-

 production expenses).

          As to his second claim, Respondent’s misappropriation was anything but “technical.”

 Respondent essentially admits to “robbing Peter to pay Paul,” i.e., using YPC’s funds to pay his

 personal and other expenses initially but claiming that he ultimately spent at least $1.5 million

 towards the purpose intended, which was to produce the film. Even assuming he did in fact later

 spend $1.5 million, representing YPC’s investment, on the production of the film, this is not

 merely a “technical” misappropriation but rather a willful and intentional misappropriation. (In

 the Matter of Song (Review Dept. 2013) 5 Cal. State Bar Ct. Rptr. 273, 278 [as a fiduciary, an

 attorney may not use client funds as “merely temporary loans” without obtaining client

 consent].) Respondent was not permitted to withdraw said funds for any purpose except for

 agreed-upon production expenses. Moreover, he was required to hold the entirety of YPC’s $1.5

 million funds in trust until he deposited his $3.5 million share of the Combined Financing, which

 he never deposited, and thereafter required to maintain the funds in the segregated account until

 appropriately expended, which Respondent did not do. While not his client, Respondent owed a

 duty to YPC nevertheless and was “rightly expected to exercise extraordinary care and fidelity in

 dealing with money” belonging to YPC. (Howard v. State Bar, supra, 51 Cal.3d at p. 221.) This

 would include maintaining accurate records of and appropriately accounting for the entrusted

 funds.

          The mere fact that Respondent’s balance in the Picture Account fell below the amount he

 was required to hold on behalf of YPC raises an inference of misappropriation. (Giovanazzi v.

 State Bar (1980) 28 Cal.3d 465, 474 [inference of misappropriation if attorney’s trust account

 balance drops below amount attorney should maintain for client].) Thus, Respondent must show

 that no misappropriation occurred and that he was entitled to use the YPC funds as he did,


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 including proof that he used them for their intended purpose and in accordance with the

 Financing Agreement. (In the Matter of Sklar (Review Dept. 1993) 2 Cal. State Bar Ct. Rptr.

 602, 618.) To that end, Respondent failed to produce evidence to demonstrate what portion, if

 any, of YPC’s $1.5 million investment was used to produce the film. Moreover, even if he had

 ultimately used $1.5 million to produce the film, he was not entitled to use YPC’s funds to do so

 per the terms of the Financing Agreement, which required that Respondent refund YPC’s

 investment upon Respondent’s his failure to demonstrate proof of his own deposit. Respondent’s

 misuse of YPC’s funds most certainly constitutes an intentional misappropriation of funds and

 demonstrates his lack of appreciation for his duties as a fiduciary.

        Most suggestive of his intent was that Respondent’s actions, in misappropriating the $1.5

 million of YPC’s investment funds, were surrounded by deceit. Respondent misrepresented

 material facts in the inducement of YPC to enter into the Financing Agreement, including, but

 not limited to, failing to inform YPC that he intended to use YPC’s funds, at least in part, to

 cover debts already incurred, including Respondent’s personal debts. This uncontradicted

 evidence demonstrated that Respondent accepted YPC’s funds under false pretenses and his

 intent was confirmed by his immediate use of YPC’s funds to cover personal expenses through

 the issuance of no less than 15 pre-printed checks the very same day that he received YPC’s

 funds. Respondent concealed his actions and lied to YPC when directly confronted about failing

 to provide proof of the deposit of his $3.5 million share of the Combined Financing. To this day,

 Respondent has refused to account for the usage of YPC’s funds and admitted that he could not

 draw a distinction between his funds and YPC’s funds.

        Thus, by intentionally and dishonestly misappropriating YPC’s $1.5 million in entrusted

 funds, Respondent is culpable of committing an act of moral turpitude in violation of section

 6106, as alleged in count one – a conclusion further supported by the subsequent acts of deceit


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 by answering YPC’s inquiries with lies and evasion, coupled with Respondent’s utter failure to

 account for the usage of those funds. (See Edwards v. State Bar (1990) 52 Cal.3d 28, 38.)

                                   Aggravation and Mitigation

 Aggravation20

        The State Bar bears the burden of proving aggravating circumstances by clear and

 convincing evidence. (Std. 1.5.) The court finds the following factors in aggravation.21

        Multiple Acts/Pattern of Misconduct (Std. 1.5(b).)

        Standard 1.5(b) provides that aggravating circumstances include “multiple acts of

 wrongdoing.” Multiple acts of misconduct as aggravation are not limited to the counts pleaded.

 (In the Matter of Valinoti (Review Dept.2002) 4 Cal. State Bar Ct. Rptr. 498, 555.) Here,

 Respondent was charged with and found culpable of a single count of moral turpitude by the

 intentional and dishonest misappropriation of YPC’s $1.5 million in entrusted funds.

 Nevertheless, the court finds that Respondent’s multiple misrepresentations in the fraudulent

 inducement of YPC’s $1.5 million dollar investment, his immediate transfer of the funds to an

 unauthorized account and misappropriation through dozens of unauthorized transfers and

 withdrawals, his subsequent multiple misrepresentations, his concealment of his actions, and his

 continued improper use of the funds through the release of the Picture four years later constitute


        20
          All references to standards are to the Rules of Procedure of the State Bar, title IV,
 Standards for Attorney Sanctions for Professional Misconduct.
        21
            OCTC also argues for aggravation for Respondent’s bad faith and lack of candor
 demonstrated through his dishonest conduct and lack of credibility (Stds. 1.5(d) and (l)) and
 refusal or inability to account for entrusted funds (Std. 1.5(i)). However, the underlying facts
 related to Respondent’s bad faith, dishonesty, and refusal to account for entrusted funds were
 considered in determining culpability so this will not be considered as an independent
 aggravating factor. (See In the Matter of Sampson (Review Dept. 1994) 3 Cal. State Bar Ct.
 Rptr. 119, 132-133 [error to consider same conduct in finding moral turpitude for aggravation].)
 Additionally, Respondent’s lack of credibility in his testimony is not sufficient to constitute
 aggravation for bad faith or lack of candor. (See In the Matter of Wolff (Review Dept. 2006) 5
 Cal. State Bar Ct. Rptr. 1, 11.)

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 multiple acts of misconduct meriting substantial weight in aggravation. (See In the Matter of

 Kueker (Review Dept.1991) 1 Cal. State Bar Ct. Rptr. 583, 594 [multiple acts in aggravation for

 one count of moral turpitude where attorney made 11 misrepresentations over two years]; Song,

 supra, 5 Cal. State Bar Ct. Rptr. at p. 279 [significant aggravation for single count of moral

 turpitude for misappropriating funds through 65 improper CTA withdrawals.)

        Significant Harm (Std. 1.5(j).)

        Respondent’s misconduct caused significant financial harm to Yarbrough/YPC and

 placed unnecessary burdens on the administration of justice. In addition to the obvious inability

 to utilize their funds due to Respondent’s continuing failure to return YPC’s entrusted funds

 more than a decade later, Yarbrough/YPC was harmed by incurring the additional expense of

 hiring several law firms to represent YPC in efforts to recover the entrusted funds in three

 separate court actions – the Tennessee Action, the sister-state judgment action in California, and

 the Bankruptcy Court adversary proceeding – and related enforcement measures involving

 numerous law enforcement and administrative agencies. (See In the Matter of Casey (Review

 Dept. 2008) 5 Cal. State Bar Ct. Rptr. 117, 126 [significant harm where client hired new

 attorney, incurred attorney fees, and suffered for three years due to attorney’s misconduct].)

 Moreover, due to Respondent’s failure to account for the entrusted funds and his deceptive and

 evasive responses with respect to the status of the funds, YPC had to hire a forensic accountant

 to determine what even happened to the funds. Significantly, despite having specifically agreed

 to the nondischargeability of the debt in the stipulated judgment, Respondent prolonged the legal

 battle over the misappropriated funds and filed for bankruptcy in an effort to have his $2.25

 million debt owed to YPC discharged nonetheless.

        Overall, the significant harm that Respondent caused Yarbrough/YPC and the profession

 warrants substantial consideration in aggravation. (Chang v. State Bar (1989) 49 Cal.3d 114,


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 128 [misappropriation harms not only the client but it also “endangers the confidence of the

 public at large in the legal profession.”].)

         Indifference (Std. 1.5(k).)

         The court also finds that Respondent demonstrated indifference through his lack of

 remorse for his actions. He showed little insight or recognition of his wrongdoing, which causes

 concern that he will repeat his misdeeds. Despite entering into the Stipulation, which largely

 established his culpability for the misconduct alleged, Respondent characterizes his actions as

 minor mistakes or merely technical violations. (In the Matter of Spaith (Review Dept. 1996)

 3 Cal. State Bar Ct. Rptr. 511, 519 [justifying use of CTA funds for office expenses based on

 intent to repay raises “concern as to whether respondent has recognized the extent of his

 wrongdoing”]; In the Matter of Wolff (Review Dept. 2005) 5 Cal. State Bar Ct. Rptr. 1, 14

 [indifference found where the attorney continued to deny culpability despite her stipulation

 establishing her misconduct as charged]; In the Matter of Casey, supra, 5 Cal. State Bar Ct. Rptr.

 at pp. 126-127 [respondent’s assertion that his conduct was a minor ethical problem showed

 indifference and failure to appreciate the wrongfulness of his misconduct].)

         Additionally, though Respondent has maintained that his movement of YPC’s funds into

 separate accounts was not improper as it was authorized by several unidentified YPC

 representatives, it was part of a strategic decision to avoid certain fees, and all of YPC’s money

 ultimately went to production of the Picture, there is no credible evidence to support this version

 of events. (Wolff, supra, 5 Cal. State Bar Ct. Rptr. at p. 14 [attorney who fails to accept

 responsibility for actions and seeks to shift responsibility to others demonstrates indifference and

 lack of remorse].) Despite two civil court judgments and a bankruptcy court finding of

 nondischargeability based in part upon findings of fraud, Respondent refuses to acknowledge his

 fraudulent misconduct and continues to peddle unsupported excuses for his behavior.


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         While the law does not require Respondent to be falsely penitent, it “does require that

 [he] accept responsibility for his acts and come to grips with his culpability. [Citation.]” (In the

 Matter of Katz (Review Dept. 1991) 1 Cal. State Bar Ct. Rptr. 502, 511.) Accordingly, the court

 finds clear and convincing evidence of Respondent’s indifference and gives this substantial

 weight as it is suggestive of his inability to rehabilitate.

         Failure to Make Restitution (Std. 1.5(m).)

         The only funds recouped by YPC were those obtained by YPC’s enforcement actions and

 even that was only a small fraction of the $1.5 million investment. Moreover, the payments were

 not made directly or even voluntarily by Respondent, but rather the funds represented monies

 recovered by the bankruptcy trustee ($28,222.25) and funds resulting from a forced Sherriff’s

 sale ($7,126). Respondent has yet to pay YPC the $1.5 million plus interest has accrued since

 October 2009. Respondent’s argument that no restitution is required because YPC’s funds were

 in fact used to produce the movie is unavailing. Setting aside the fact that Respondent failed to

 establish that YPC’s funds were used to produce the movie, Respondent was not entitled to use

 these funds for the production of the movie as he was required to return these funds as early as

 October 2009 and no later than YPC’s formal request in February 2010, according to the terms

 of the Financing Agreement, on account of his failure to deposit his portion of the Combined

 Financing. Respondent’s failure to make restitution is a substantial aggravating factor.

 Mitigation

         Respondent bears the burden of proving mitigating circumstances by clear and

 convincing evidence. (Std. 1.6.) The court finds the following factors in mitigation, each of

 which is entitled to only moderate weight.22


         22
           Although, Respondent did not cite to any mitigating circumstances beyond his lack of
 prior discipline, OCTC did address the potential claim for mitigating circumstances on the basis
 of excessive delay. (Std. 1.6(i).) Although the delay in the filing of the State Bar disciplinary
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        No Prior Record of Discipline (Std. 1.6(a).)

        Respondent was a licensed attorney for almost 10 years before he committed misconduct.

 However, he worked primarily in a non-attorney capacity as a movie producer and has not

 claimed to have practiced law during any of those years. As his counsel conceded, Respondent

 is a movie producer who happens to have a license to practice law.23 As such, the weight, if any,

 to give to this period of licensure without prior discipline is significantly diminished. (In the

 Matter of Blum (Review Dept. 1994) 3 Cal. State Bar Ct. Rptr. 170, 177 [appropriate to

 depreciate years of practice by time not spent practicing law].) Similarly, Respondent’s ten years

 of licensure since, without subsequent misconduct, also carries limited weight, if any, because he

 was not a practicing attorney during this time and his misconduct constitutes an ongoing

 violation of his fiduciary duties. Further, Respondent’s misconduct is very serious and

 demonstrates an ongoing lack of appreciation for the rules governing attorneys. Accordingly,

 although Respondent was licensed to practice for 10 years prior to committing misconduct in this

 matter, the court affords him moderate weight in mitigation given that he has not been a

 practicing attorney during that time, such that this court can properly find his conduct to be so

 aberrational.24 (Cf. Hawes v. State Bar (1990) 51 Cal.3d 587, 596 [significant weight in


 proceedings was excessive, Respondent failed to demonstrate a sufficient showing of specific,
 legally cognizable prejudice. (Blair v. State Bar (1989) 49 Cal.3d 762, 774.) Respondent was
 able to present his defense and produced over 1,300 pages of production-related documents so
 his vague assertions that other relevant records were lost is not persuasive. Moreover, the
 documents that Respondent claimed he was unable to preserve, Picture expenses, would not have
 established that he held YPC’s funds in trust and dutifully executed the terms of the Financing
 Agreement. (See In re Respondent K, (1993). 2 Cal. State Bar Ct. Rptr. 335, 361-362.) Thus,
 the court does not find mitigation under standard 1.6(i).
        23
           It is also significant to this court that Respondent repeatedly claimed his ignorance of
 the precise terms of many of the relevant legal documents as a defense to any finding of intent in
 the Bankruptcy Court proceedings, claiming that he did not have a lawyer to look over the
 contracts and was unfamiliar with some of the basic legal terms, such as “fraud.”
        24
           Notably, Respondent did not offer any character evidence to support an inference that
 this conduct was indeed aberrational.

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 mitigation where the attorney was actively engaged in the practice of law for over ten years of

 practice before first act of misconduct].)

          Cooperation with the State Bar (Std. 1.6(e).)

          Respondent entered into a partial stipulation as to facts and admission of documents,

 many of which were easily provable facts. While not stipulating to culpability, Respondent’s

 cooperation conserved court time and resources as many of the stipulated facts evidenced

 Respondent’s culpability for the misconduct alleged in count one. Accordingly, although not

 entitled to great weight, Respondent’s cooperation with OCTC warrants moderate consideration

 in mitigation. (See In the Matter of Lenard (Review Dept. 2013) 5 Cal. State Bar Ct. Rptr. 250,

 260 [reduced mitigating credit given where attorney stipulates to facts and admission of

 documents but does not stipulate to culpability].)

                                               Discussion

          The purpose of State Bar disciplinary proceedings is not to punish the attorney, but to

 protect the public, the courts, and the legal profession; to maintain the highest possible

 professional standards for attorneys, and to preserve public confidence in the legal profession.

 (Chadwick v. State Bar (1989) 49 Cal.3d 103, 111; Cooper v. State Bar (1987) 43 Cal.3d 1016,

 1025.)

          In view of the misconduct, OCTC urges the court to disbar Respondent from the legal

 profession. Respondent, on the other hand, contends that, because his misconduct was

 aberrational and “merely a technical misappropriation,” the appropriate level of discipline should

 be a public reproval. Respondent’s argument is incredulous.

          In determining the appropriate level of discipline, the court looks first to the standards for

 guidance. (Drociak v. State Bar (1991) 52 Cal.3d 1085, 1090; In the Matter of Koehler (Review

 Dept. 1991) 1 Cal. State Bar Ct. Rptr. 615, 628.) The court then looks to the decisional law.


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 (Snyder v. State Bar (1990) 49 Cal.3d 1302, 1310-1311; In the Matter of Taylor (Review Dept.

 1991) 1 Cal. State Bar Ct. Rptr. 563, 580.)

         The Supreme Court gives the standards “great weight” and will reject a recommendation

 consistent with the standards only where the court entertains “grave doubts” as to its propriety.

 (In re Silverton (2005) 36 Cal.4th 81, 91-92; In re Naney (1990) 51 Cal.3d 186, 190.) Although

 the standards are not mandatory, a compelling, well-defined reason must be provided for any

 deviation from them. (Bates v. State Bar (1990) 51 Cal.3d 1056, 1061, fn. 2; Aronin v. State Bar

 (1990) 52 Cal.3d 276, 291.) Upon balancing the mitigating and aggravating circumstances, it is

 appropriate to recommend a lesser sanction than otherwise specified in the applicable standard in

 cases of minor misconduct, where there is little or no injury to the client, the public, the legal

 system, or the profession, and where the record demonstrates that the lawyer is willing and has

 the ability to conform to ethical responsibilities in the future. (Std. 1.7(c).)

         Standard 2.1(a) applies to Respondent’s misconduct in this matter. Standard 2.1(a)

 provides for a presumed sanction of disbarment for an intentional or dishonest misappropriation

 of entrusted funds unless the amount misappropriated is insignificantly small or unless the most

 compelling mitigating circumstances clearly predominate, in which case actual suspension is

 appropriate. Here, the misappropriated amount, $1.5 million, is undoubtedly not insignificantly

 small. (Lawhorn v. State Bar (1987) 43 Cal.3d 1357, 1361, 1368 [$1,355.75 held to be

 significant amount].) Further, Respondent’s mitigation is neither compelling, nor predominant

 over his serious misconduct and aggravation. Thus, the exceptions outlined in Standard 2.1(a)

 do not apply and disbarment is the presumed sanction.

         Respondent’s misconduct in this matter was not minor and the record does not

 demonstrate his willingness or ability to conform to his ethical responsibilities in the future.

 Rather, Respondent’s serious, intentional and deceitful misconduct caused significant harm.


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 Furthermore, Respondent’s misconduct is significantly aggravated by his demonstrated

 indifference, failure to make restitution, and multiple acts of misconduct while only somewhat

 mitigated by his cooperation by entering into a partial stipulation as to facts and his lack of any

 prior record of discipline, albeit not as an actively practicing attorney. Most importantly,

 Respondent’s dishonest conduct coupled with his indifference gives this court little confidence

 that his behavior is unlikely to reoccur.

        Honesty is the fundamental rule of ethics, “without which the profession is worse than

 valueless in the place it holds in the administration of justice.’ [Citations.]” (Rhodes v. State Bar

 (1989) 49 Cal.3d 50, 60.) The Supreme Court has regularly and consistently disciplined

 attorneys for dishonesty. (Sevin v. State Bar (1973) 8 Cal.3d 641, 645-646 [misappropriation

 and fabricated loan agreement]; Marquette v. State Bar (1988) 44 Cal.3d 253, 263 [insufficiently

 funded checks].) Further, cases involving deceit and misappropriation have been known to

 warrant disbarment, even in the absence of a prior record of discipline. (Kelly v. State Bar

 (1988) 45 Cal.3d 649 [disbarment for $20,000 misappropriation, moral turpitude, dishonesty, and

 improper communication with adverse party despite no aggravation and finding mitigation for no

 prior record of discipline]; Spaith, supra, 3 Cal. State Bar Ct. Rptr. 511 [disbarment for $40,000

 misappropriation and intentionally misleading client despite mitigation for emotional problems,

 repayment of money, 15 years of discipline-free practice, strong character evidence, candor and

 cooperation with State Bar].)

        As to the appropriate level discipline, this court finds some guidance in Song, supra, 5

 Cal. State Bar Ct. Rptr. 273, and Chang v. State Bar, supra, 49 Cal.3d 114. In Song, the attorney

 misappropriated $112,293 over three years for his personal use. He was found culpable of

 failing to maintain client funds in trust and misappropriation. The attorney was credited with

 four factors in mitigation including good character, twelve years of discipline-free practice, his


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 cooperation by entering into a stipulation of facts that established his culpability, and his

 commitment to community service/pro bono work. In aggravation, the attorney committed

 multiple acts of misconduct and lacked remorse. Concluding that the attorney’s substantial

 mitigation was not compelling considering his serious misconduct and aggravating factors, the

 Review Department recommended disbarment.

        Similar to the attorney in Song, Respondent misappropriated a substantial sum of money

 over an extended period, having failed to refund the money to this day. Although Respondent

 was not found culpable of a misrepresentation, his actions were surrounded by deceit as the

 evidence demonstrated that he fraudulently induced YPC to enter into the Financing Agreement

 in the first place and presented YPC with misleading bank records in an attempt to cover up his

 actions. While Respondent has presented some mitigation, like the mitigation in Song, it is not

 sufficiently compelling to justify a level of discipline short of disbarment, especially in light of

 the serious misconduct and substantial factors in aggravation.

        Likewise, in Chang, the attorney was found culpable, in a single client matter, of

 misappropriating $7,900 in client funds, failing to provide an accounting, and making

 misrepresentations to his client and the State Bar. In mitigation, the attorney had no prior record

 of discipline in eight years of practice prior to the misconduct. In aggravation, the attorney never

 acknowledged the impropriety of his conduct. The Supreme Court ordered the attorney be

 disbarred, noting that his lack of remorse or candor, serious misconduct, and failure to pay

 restitution gave reason to doubt whether he could conform his conduct to ethical standards. Like

 in Chang, Respondent has committed serious misconduct, failed to pay restitution, and lacks

 insight into his behavior, raising the concern that he will be unable to appropriately conform his

 conduct in the future.




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        Therefore, having considered the nature and extent of the misconduct, the aggravating

 and mitigating circumstances, as well as the case law, the court finds that Respondent’s

 disbarment is necessary to preserve public confidence in the legal profession and to protect the

 public, the courts, and the legal community.

                                         Recommendations

        It is recommended that Bret Merrick Saxon, State Bar Number 205100, be disbarred from

 the practice of law in California and that his name be stricken from the roll of attorneys.

        Restitution

        It is further recommended that Bret Merrick Saxon make restitution in the amount of

 $1,464,651.7525 plus 10 percent interest per year from October 21, 2009, to Yarbrough

 Production Company, LLC and/or Jon Yarbrough or such other recipient as may be designated

 by the Office of Probation or the State Bar Court (or reimburse the Client Security Fund, to the

 extent of any payment from the Fund to such payee, in accordance with Business and Professions

 Code section 6140.5). Reimbursement to the Fund is enforceable as a money judgment and may

 be collected by the State Bar through any means permitted by law.

        California Rules of Court, Rule 9.20

        It is further recommended that Bret Merrick Saxon be ordered to comply with the

 requirements of California Rules of Court, rule 9.20, and to perform the acts specified in

 subdivisions (a) and (c) of that rule within 30 and 40 days, respectively, after the effective date

 of the Supreme Court order imposing discipline in this matter.26


        25
          This amount represents the $1.5 million investment wired into the Picture Account by
 YPC on October 21, 2009, less the $7,126 recovered in the Sherriff’s sale and $28,222.25
 recovered from the bankruptcy trustee.
        26
           For purposes of compliance with rule 9.20(a), the operative date for identification of
 “clients being represented in pending matters” and others to be notified is the filing date of the
 Supreme Court order, not any later “effective” date of the order. (Athearn v. State Bar (1982)
 32 Cal.3d 38, 45.) Further, Bret Merrick Saxon is required to file a rule 9.20(c) affidavit even if
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         Costs

         It is further recommended that costs be awarded to the State Bar in accordance with

 Business and Professions Code section 6086.10, and are enforceable both as provided in

 Business and Professions Code section 6140.7 and as a money judgment, and may be collected

 by the State Bar through any means permitted by law. Unless the time for payment of discipline

 costs is extended pursuant to subdivision (c) of section 6086.10, costs assessed against an

 attorney who is actually suspended or disbarred must be paid as a condition of reinstatement or

 return to active status.27

                              Order of Involuntary Inactive Enrollment

         Bret Merrick Saxon is ordered transferred to involuntary inactive status pursuant to

 Business and Professions Code section 6007, subdivision (c)(4). His inactive enrollment will be

 effective three calendar days after this order is served and will terminate upon the effective date

 of the Supreme Court’s order imposing discipline herein, or as provided for by rule 5.111(D)(2)

 of the State Bar Rules of Procedure or as otherwise ordered by the Supreme Court pursuant to its

 plenary jurisdiction.



                                                          Yvette D. Roland
 Dated: May 26, 2021                                      YVETTE D. ROLAND
                                                          Judge of the State Bar Court




 he has no clients to notify on the date the Supreme Court filed its order in this proceeding.
 (Powers v. State Bar (1988) 44 Cal.3d 337, 341.) In addition to being punished as a crime or
 contempt, an attorney’s failure to comply with rule 9.20 is, inter alia, cause for disbarment,
 suspension, revocation of any pending disciplinary probation, and denial of an application for
 reinstatement after disbarment. (Cal. Rules of Court, rule 9.20(d).)
         27
          Monetary sanctions do not apply here as the proceedings commenced before April 1,
 2020. (See Rule 5.137(H), as revised on March 1, 2021.)

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                         CERTIFICATE OF ELECTRONIC SERVICE

                               (Rules Proc. of State Bar, rule 5.27.1.)


 I, the undersigned, certify that I am a Court Specialist of the State Bar Court. I am over the age
 of eighteen and not a party to the within proceeding. Pursuant to standard court practice, on May
 26, 2021, I transmitted a true copy of the following document(s):


        DECISION AND ORDER OF INVOLUNTARY INACTIVE ENROLLMENT

 by electronic service to RONALD N. RICHARDS at the following electronic service address as
 defined in rule 5.4(29) and as provided in rule 5.26.1 of the Rules of Procedure of the State Bar:


        ron@ronaldrichards.com

 by electronic service to SUJITH DIVAKARAN at the following electronic service address as
 defined in rule 5.4(29) and as provided in rule 5.26.1 of the Rules of Procedure of the State Bar:


        Sujith.Divakaran@calbar.ca.gov

 The above document(s) was/were served electronically. My electronic service address is
                 ctroomB@statebarcourt.ca.gov and my business address is
                     845 South Figueroa Street, Los Angeles, CA 90017

 I declare, under penalty of perjury under the laws of the State of California, that the information
 above is true and correct.




  Date: May 26, 2021
                                                    Elizabeth Alvarez
                                                    Court Specialist
                                                    State Bar Court
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                   EXHIBIT 4
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 October 13, 2021                                                                             (the "Effective Date")

 Wonder Capital LLC                                                                           ("Producer" or "your")

 Re: Sales Tenn Sheet/ "HARD MATIER"

 BOS Entertainment d/b/a The Exchange ("TE") and Producer hereby enter into this binding Sales Term Sheet
 with respect to the picture currently entitled "HARD MATTER" (the "Picture").

Producer hereby represents and warrants that it owns and controls all rights of every kind and nature in and to
the Picture sufficient to allow TE to render its services to producer, sell, license and distribute the rights
hereunder for the duration of the Term. If a breach of this representation and warranty occurs, TE may, in its
sole discretion, cancel this Term Sheet, in which case, Producer shall pay to TE twenty-five thousand US dollars
(US $25,000) as well as other outstanding amounts that are owed to TE (including but not limited to Sales Fee for
the Domestic Territory and the International Territory, Sales Expenses, Marketing Expenses). The above shall
not be a limitation to TE's remedies at law and equity.

TERRITORY: The Domestic Territory and the International Territory. The "Domestic Territory" shall mean (a)
the United States and its territories and possessions; and (b) Canada and its territories and possessions. The
 "International Territory" shall mean the world excluding the Domestic Territory.

TERM: Twenty (20) years from the Effective Date and the delivery of the Picture. Plus, TE may enter into
distribution agreements that extend for an additional five (5) years (i.e. 25 years total).

SALES FEE FOR THE DOMESTIC TERRITORY: TE shall receive ten percent (10%) of all revenue ("Gross
Receipts") generated in the Domestic Territory

SALES FEE FOR THE INTERNATIONAL TERRITORY: TE shall receive fifteen percent (15%) of Gross Receipts
generated in the International Territory.

SALES EXPENSES: The Sales Expenses shall be equal to one hundred thirty-five thousand US dollars (US
$135,000) (a one-time charge non-accountable during the Term). Eighty-five thousand US dollars (US $85,000) of
the Sales Expenses shall be paid on execution of this Sales Term Sheet. The remaining fifty thousand US dollars
(US $50,000) of the Sales Expenses shall be payable out of the budget of the Picture.

MARKETING EXPENSES: The Marketing Expenses shall be fully recoupable based upon actual, verifiable, out-
of-pocket expenses and capped at fifty thousand US dollars (US $50,000).

FINANCING FEE: Subject to TE bringing and/or sourcing financing outside of any presales and tax credit (the
"Financing Commitment") which is to be approved by Producer, TE shall receive a financing fee, an amount to
be negotiated in good faith with the Producer, which shall be payable out of the budget, in full, upon
commencement of principal photography of the Picture.

BACKEND COMPENSATION: Subject to TE bringing and/or sourcing the Financing Commitment, TE shall
receive a backend compensation in an amount to be negotiated in good faith with the Producer, which shall be
paid pro rata pari passu with any and all other financiers associated with the Picture.

CREDITS: TE (or its designee) shall be entitled to an animated logo in front of the Picture on screen and a static
logo on all paid ads, billing blocks, etc. worldwide. TE (or its designee) shall also be accorded an "in association
with" credit on screen and on all paid ads, billing blocks, etc. worldw ide. TE shall be entitled to three (3)
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 Executive Producer credits (shared card) on screen in the main title, and in paid ads positioned at Producers'
 discretion worldwide. Subject to bringing and/or sourcing the Financing Commitment, TE shall be entitled to
 additional credits, which shall be negotiated in good faith with the Producer.

 DELIVERY: The delivery schedule of materials will be negotiated in good faith between the parties. Delivery
 materials shall be delivered at Producer's cost.

 SUBSEQUENT PRODUCTIONS: TE shall have the right to participate in all sequels / prequels / remakes/ stage
 plays/ television productions / animation productions/ subsequent productions of any kind in the same manner
 as is outlined in this term sheet, which will include any theatrical / VOD / straight to DVD / TV/ Internet or other
 unknown or specified medium.

 BUDGET: The all in budget shall include, without limitation, all applicable guild (e.g., WGA, SAG, DGA,
teamsters, IATSE, as applicable) residual deposits, a minimum contingency as determined by the applicable
bond company, bond fee, foreign and domestic delivery materials, allowances for legal fees to close financing,
and our fifty thousand US dollars (US $50,000) Sales Expenses charge as described above. TE shall have
meaningful consultation on the budget of the Picture.

 THE WATERFALL: for the Picture in the Territory shall be as follows:

First, collection agency fees, expenses (if approved and necessary) and guild residuals;
Second, to TE for the Sales Fee for the Domestic Territory and the International Territory;
Third, to TE to recoup Marketing Expenses; and
Thereafter, 100% to the profit sharing pool where TE shall receive its Backend Compensation, if applicable.

SALES AGENCY AGREEMENT: A fully executed and binding sales agency agreement with an international
sales estimates and delivery schedule to be negotiated in good faith by the parties.

COLLECTION AGENT: It is intended that a collection account ("Collection Account") for the Picture will be set
up with a third-party collection agent approved by TE and Producer to collect all Gross Receipts for the Picture,
and both TE and Producer shall be a party to the agreement regarding said Collection Account. Fintage
Collection Account Management B.V. and Freeway Entertainment Group B.V. are pre-approved.

CONDITIONS PRECEDENT: TE's obligations herein are subject to satisfaction of the following "Conditions
Precedent," in TE' s sole discretion:

Actors: Approval of actors in the principal roles of "Sawyer", "Kyron", "Elera", "Daxon", "Lukas", and "Eion",
and any replacement thereof. TE hereby approves Mel Gibson in the role of "Sawyer".

Screenplay: Approval of the screenplay. TE hereby approves the screenplay written by Justin Price submitted to
TE on October 13, 2021.

Director: Approval of the director, and any replacement thereof. TE hereby approves Justin Price.

Chain of Title: Approval of the chain of title for the Picture.

E&O Insurance: Approval of the Errors & Omissions insurance for the Picture.

Start of Principal Photography: Approval of the start date of principal photography for the Picture.
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 All disputes arising out of or relating to this Sales Term Sheet will be resolved by binding arbitration under the
 IFTA Rules of International Arbitration in effect at the time the notice of arbitration is filed. The prevailing party
 in any arbitration or other legal proceeding brought pursuant hereto shall be entitled to recover all of its
 attorneys' fees and expenses actually incurred.

 This Sales Term Sheet shall expire on November 5, 2021 at 6PM Pacific Time Pacific Time if TE does not receive
 an indication of your interest.

 If the above terms, conditions and understandings are acceptable to you, please indicate your acceptance and
 agreement by signing below.




 AGREED AND ACCEPTED:




AGREED AND ACCEPTED:
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                   EXHIBIT 5
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                                           111
                                      WONDERFILM




                                                    September 23, 2021



    Latavius Powell
    Gridiron Productions LLC
    430 Schriever Ct.
    Mcdonough, GA 30252

    Re:   "Hard Matter"

    Dear Latavius:

                    This letter confirms the terms of the agreement between Wonder
    Capital, llc (referred to as "Company") and Gridiron Productions LLC (“Financier")
    with respect to the proposed production, distribution and exploitation of a feature
    film entitled “Hard Matter” ("Picture"). Company and Financier are referred
    herein individually as “Party” and collectively as “Parties.”

    WHEREAS, Company intends to produce the Picture in the Spring of 2022 with
    principal photography commencing on or about March 1, 2022. And, WHEREAS,
    Company intends to deliver the Picture in the third Quarter of 2022.

    WHEREAS, Financier agrees to provide production financing for the Picture in
    the amount of U.S. $5,050,000 (Five-Million-Fifty-Thousand Dollars) (“Outside
    Financing”), which represents a portion of the full budget, currently set at
    $7,300,000.

    WHEREAS, Company intends to make good faith efforts to obtain additional
    Outside Financing through the Louisiana state tax incentive program as well as
    from additional financiers to complete the budget, Financier understands that
    Company may use the Outside Financing to begin development, preproduction
    and production at any time while still working to secure the full budget.

    WHEREAS, Company permanently, and for so long as Company is acting in any
    capacity on the Picture, attaches Justin Price as the director of the Picture.
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    Additionally, Company permanently, and for so long as Company is acting in any
    capacity on the Picture, attaches Powell and Price Productions as a credited co-
    production entity.

    In consideration of the mutual promises contained herein the sufficiency of which
    is hereby agreed and acknowledged, the parties agree as follows:

    1. In the event Financier actually provides the Financing on or before March 1,
    2022 Financier shall be entitled to the following from 100% of any and all
    revenues actually received by Company, its parents, subsidiaries or affiliates, or
    any entity on its behalf, from the exploitation of the Picture (including any
    exploitable rights therein or elements thereof), worldwide, in any and all markets
    and any and all media now known or hereafter devised, from all sources:

            a. Recoupment of the Financing. Such recoupment shall be out of first
    revenues in, and pari passu relative to any other financier, if any, until Financier
    has recouped 120%- of his contribution. In addition, Financier shall be entitled to
    such recoupment after Company has paid the following sums, if applicable, and
    Producer shall be entitled to maintain a reasonable reserve to cover anticipated
    amounts due under sub-paragraphs (i) and (ii) below:
                 (i) payments due to unions or guilds having jurisdiction over the
    Picture for residuals (including any music re-use or new use fees) in connection
    with the Picture, but only to the extent not paid by the distributor(s) of the Picture;
                (ii) any actual, direct, out-of-pocket costs and expenses of auditing,
    administering and collecting moneys paid and/or owing to Company from
    distributors and/or other licensees of the Picture and of paying taxes and other
    administrative expenses of Company;
                (iii) the fee and expenses payable to any third-party sales
    representative or sales agent and distribution attorney for the Picture; and,
                (iv) third party accounts payable or executory obligations of Company
    which are directly in connection with the production, delivery, sales, marketing,
    promotion and publicity of the Picture (e.g., for banking or creation of delivery
    items prior to complete delivery of the Picture to all distributors, and for storage of
    Picture elements); provided, however, if that if amounts payable under this
    paragraph 1(a)(iv) would cause the budget of the Picture to exceed $8,500,000,
    then Company shall obtain Financier’s approval of such expenses, failing which
    such expenses may not be recouped against sums payable to Financier under
    this agreement.

            b. Following recoupment of the amounts specified in paragraph 1a above
    and payment of any and all deferred compensation to persons rendering services
    or granting rights in connection with the Picture, Financier shall receive a pari
    passu portion with all other financiers, if any, of contingent compensation in an
    amount equal to 50% (“Investor’s Share Contingent Compensation”) of any and
    all revenues generated from any further exploitation of the Picture in perpetuity
    throughout the universe in all media known or developed in the future.
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            d. Financier shall receive a credit as an Executive Producer in the main
    titles of the final release print of the Picture. The size and placement of said
    credit is left solely to Company’s discretion. Additional credits upon mutual
    agreement of the Parties, not to be unreasonably withheld.

          e. Financier shall have the first opportunity to participate as a financier on
    any sequels, remakes or other programs derived from the Picture.

    2. Financier shall be entitled to have its certified public accountant examine, audit
    and copy, at Financier’s sole cost and expense, those parts of the Company’s
    books and records which relate to the Picture during reasonable business hours
    at such place where said books and records are regularly maintained. Such
    examinations shall be made upon not less than ten (10) days prior notice, and
    shall not be held more frequently than once each calendar year. Additionally,
    Financier shall be provided with an ongoing cost report during the production of
    the Picture.

    3. Parties agree that for a transaction of this nature more formal documents may
    be required to affect the ultimate purpose of this Agreement and do hereby agree
    to incorporate the terms and conditions of this letter Agreement into said
    documents, if any. Parties agree to negotiate in good faith terms and conditions
    not contained herein using the standards and customs of the theatrical motion
    picture industry for such negotiations. Unless and until such further documents
    are executed, if ever, this Agreement shall bind and inure to the benefit of the
    Parties, their successors and assigns.

    4. Except as otherwise expressly provided herein, all creative, artistic and
    business decisions relating to the development, production, distribution and other
    exploitation of the Picture shall remain in Company’s sole discretion.

    5. This Agreement is governed by the laws of the State of California.

    6. The Parties represent and warrant and agree that each has the right to enter
    into this Agreement and neither is subject to any obligation or disability which will
    or might prevent one of the Parties from keeping and performing the covenants
    and conditions herein.

    7. This Agreement contains the full and complete understanding between the
    Parties and supersedes all prior agreements and understandings whether written
    or oral and cannot be modified except by a written instrument signed by both
    Parties. Each Party acknowledges that neither Party, nor their agents nor
    representatives made any representation or promise not expressly contained in
    this Agreement.
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    8. In the event of any dispute hereunder, Financier’s remedy shall be limited to
    an action at law for money damages, and in no event shall Financier have the
    right to seek injunctive or other equitable relief.




    If the foregoing comports with your understanding of our Agreement, please
    countersign below.

                                             Sincerely,
                                             Wonder Capital, llc


                                             Authorized Signatory



    AGREED AND ACCEPTED:

         ~ /Jtr~
    _____________________________________
         Latavius Powell
         Gridiron Productions, LLC
